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                 Exhibit 5
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                                                                                                                              USOO883 1205B1


(12) United States Patent                                                                      (10) Patent No.:                            US 8,831.205 B1
     Wu et al.                                                                                 (45) Date of Patent:                                   *Sep. 9, 2014

(54) INTELLIGENT COMMUNICATION                                                         (52) U.S. Cl.
      ROUTING                                                                                         CPC ................................... H04M 3/5233 (2013.01)
                                                                                                      USPC ................. 379/265.11: 370/352; 379/22001;
(71) Applicants: Wai Wu, Massapequa, NY (US); Toby                                                                                                         379,266.01
                 Heller, Roslyn Heights, NY (US);                                      (58) Field of Classification Search
                 Steven M. Hoffberg, West Harrison, NY                                                USPC ................ 370/351,352; 379/22001, 265.02,
                 (US)                                                                                              379/265.06, 265.11, 265.12, 266.01, 309
(72)                                       (US)                                                           See application file for complete search history.
 72) Inventors: Wai Wu, Massapequa, NY (US); Toby
                 Heller, Roslyn Heights, NY (US);                                      (56)                                      References Cited
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(*) Notice:      Subject to any disclaimer, the term of this                                       4,286,118 A                  8/1981 Mehaffey et al.
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            Related U.S. Application Data                                                                  (Continued)
                                                                                                             O1
(63) Continuation of application No. 13/279,635, filed O                              Primary Examiner — Harry S Hong
      Oct. 24, 2011, now Pat. No. 8,411,842, which is a                                (74) Attorney, Agent, or Firm — Steven M. Hoffberg;
      continuation of application No. 12/144,053, filed O                             ostrolenk Faber LLP
     May 2, 2008, now Pat. No. 7,894.595, which is a
     continuation of application No. 1 1/756.204, filed on                            (57)                      ABSTRACT
     May 31, 2007, now Pat. No. 7,372,952, which is a                                 A systemand method for communicating in a communication
     continuation of application No. 1 1/387.305, filed on                            network, comprising presenting a communication compris
     Mar. 23, 2006, now Pat. No. 7,269,253, which is a                                ing data over a communications network to a router, said
     continuation of application No. 10/385,389, filed on                             router being adapted to route the communication to one of a
     Mar. 7, 2003, now Pat. No. 7,023,979, said application                           plurality of available network destinations; automatically
     No. 13/279,635 is a continuation of application No.                              executing a communication targeting algorithm in the router,
     13/032,455, filed on Feb. 22, 2011, now Pat. No.                                 based at least in part on the data, wherein the communication
     8,054,965.                                                                       targeting algorithm operates to contextually jointly analyze a
(60) Provisional application No. 60/363,027, filed on Mar                             plurality of parameters extracted from the data and a plurality
      7, 2002      pp                    sw1 s                                        of contextual parameters, to determine an optimum target for
       s                                                                              the communication, wherein the optimum target varies in
(51) Int. Cl                                                                          dependence on both the data and the context of the commu
      itouf/523              (2006.01)                                                nication; and routing the communication in dependence on
      H04L 2/28              (2006.01)                                                the algorithm execution.
      H04M 7700              (2006.01)                                                               20 Claims, 2 Drawing Sheets
                                                  call is placed to a call center
                                                               30

                                                         caller identified
                                                               302

                                                     caller record retrieved
                                                               303

                                                  call characteristics identified
                                                               304

                                                     retrieve agent profiles
                                                               305

                                                                is
                                                   call centernear capacity               use skill-based routing
                                                               306                                  307

                                                                Mc

                                                  use training and skill based       optimize cost-utility function over
                                                           routing 311                        short terri 308

                                             optimize cost-utility function for                select agent
                                             long term call center operation                        309
                                                               32
                                                                                                      I
                                                          select agent                      route call to agent
                                                                                                    310
                                                               33

                                                 route call to agent with training
                                                      agent available 314
            Case 6:23-cv-00575-ADA Document 1-5 Filed 08/07/23 Page 3 of 39


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     call is placed to a call center
                  301


            Caller identified
                  3O2


        Caller record retrieved
                  303


     Call Characteristics identified
                   3O4


         retrieve agent profiles
                  305



                                           Yes-O        use skill-based routing
                                                                  3O7



      use training and skill based                 optimize cost-utility function over
              routing 311                                   Short term 308

    optimize cost-utility function for                       Select agent
    long term call center operation                               309
                  312

              Select agent                                route call to agent
                                                                  31 O
                  313


    route call to agent with training
         agent available 314



                                         Fig. 1
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      outbound call is cued by an
       Outbound Call Center 401

            Callee identified
                  402


         Callee reCOrd retrieved
                   403


     call characteristics predicted
                   404


         retrieve agent profiles                           expected incremental
                   405                                         cost of agent
                                                                   415

      use training and skill based
              routing 411                                  expected incremental
                                                              utility of agent
                                                                   416
    optimize cost-utility function for
    long term call center operation K
                   412
                                                           expected incremental
                                                              COSt Of trainer
              Select agent                                         417
                   413

                                                           expected incremental
    route call to agent (with training                         training utility
    agent available if a training call)                            418
                   414




                                          Fig. 2
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                                                     US 8,831,205 B1
                              1.                                                                   2
          INTELLIGENT COMMUNICATION                                 have a lowest cost per unit. In fact, LCR schemes, when
                   ROUTING                                          implemented in conjunction with a communications Switch,
                                                                    either employ simple predetermined rules, or externalize the
                 RELATED APPLICATIONS                               analysis.
                                                                       Modern computer telephone integrated systems typically
   The present application is a continuation of U.S. patent employ a general purpose computer with dedicated Voice
application Ser. No. 13/279,635, filed Oct. 24, 2011, now communication hardware peripherals, for example boards
U.S. Pat. No. 8,411,842, issued on Apr. 2, 2013, which is a made by Dialogic, Inc. (Intel Corp.). The Voice communica
continuation of U.S. patent application Ser. No. 13/032,455, tion peripherals execute the low level processing and Switch
filed Feb. 22, 2011, Now U.S. Pat. No. 8,054,965, issued on 10 ing of the Voice channels, under control from the general
Nov. 8, 2011, which is a continuation of U.S. patent applica purpose processor. Therefore, the Voice-information is gen
tion Ser. No. 12/114,053, filed May 2, 2008, now U.S. Pat. erally not communicated on the computer bus.
No. 7,894,595 issued on Feb. 22, 2011, which is a continua             This architecture typically allows the computing platform
tion of Ser. No. 1 1/756,204, filed May 31, 2007, now U.S. Pat. 15 run a modern, non-deterministic operating system, Such as
                                                                    to
No. 7,372,952 issued on May 13, 2008, which is a continua Windows 2000, without impairing the real-time performance
tion of Ser. No. 1 1/387,305, filed Mar. 23, 2006, U.S. Pat. No.    of the system as a whole, since the communications control
7.269,253 issued on Sep. 11, 2007, which is a continuation of functions are not as time critical as the Voice processing
U.S. patent application Ser. No. 10/385,389, filed Mar. 7, functions. However, as is well known, non-deterministic
2003, now U.S. Pat. No. 7,023,979, issued on Apr. 4, 2006, operating systems, such as Windows 2000, are subject to
which claims benefit of priority from U.S. Provisional Patent significant latencies, especially when multiple tasks are
Application No. 60/363,027, filed Mar. 7, 2002, each of the executing, and when contention exists between resources,
entirety of which are expressly incorporated herein by refer especially hard disk access and virtual memory. Therefore, in
CCC.                                                                order to assure that system operation is unimpeded by incon
                                                                    sistent demands on the platform, typically the host computer
                     TECHNICAL FIELD                             25 system for the telephony peripherals is “dedicated’, and
                                                                    attempts are made to eliminate extraneous Software tasks. On
   The present invention relates generally to computer inte the other hand, externalizing essential functions imposes
grated telecommunications systems and more particularly to potential latencies due to communications and external pro
a system and method employing an intelligent Switching cessing.
architecture.                                                   30   The Call Center
                                                                         A “call center” is an organization of people, telecommu
         BACKGROUND OF THE INVENTION                                  nications equipment and management software, with a mis
                                                                      sion of efficiently handling electronic customer contact. A
   The description of the invention herein is intended to pro typical call center must balance competing goals. Customers
vide information for one skilled in the art to understand and 35 should experience high quality and consistent service as mea
practice the full scope of the invention, but is not intended to Sured, for example, by how long the customer's call must wait
be limiting as to the scope of available knowledge, nor admit in queue before being answered and receiving satisfactory
that any particular reference, nor the combinations and analy service. At the same time, this service should be provided to
sis of this information as presented herein, is itself apart of the make efficient use of call center resources.
prior art. It is, in fact, a part of the present invention to 40 Strategies for Call Center Management
aggregate the below cited information as a part of the disclo            “Workforce management’ systems provide important
sure, without limiting the scope thereof. All of the below tools for meeting the goals of the call center. These systems
identified references are therefore expressly incorporated generate forecasts of call Volumes and call handling times
herein by reference, as if the entirety thereof was recited based on historical data, to predict how much staff will be
completely herein. It is particularly noted that the present 45 needed at different times of the day and week. The systems
invention is not limited by a narrow or precise discussion then create schedules that match the staffing to anticipated
herein, nor is it intended that any disclaimer, limitation, or needs.
mandatory language as applied to any embodiment or                       Typically, an Automatic Call Distribution (ACD) function
embodiments be considered to limit the scope of the invention is provided in conjunction with a computerized Private
as a whole. The scope of the invention is therefore to be 50 Branch Exchange (PBX). This ACD function enables a group
construed as the entire literal scope of the claims, as well as of agents, termed ACD agents, to handle a high Volume of
any equivalents thereofas provided by law. It is also under inbound calls and simultaneously allows a queued caller to
stood that the title, abstract, field of the invention, and depen listen to recordings when waiting for an available ACD agent.
dent claims are not intended to, and do not, limit the scope of The ACD function typically informs inbound callers of their
the independent claims.                                            55 status while they wait and the ACD function routes callers to
   Real-time communications are typically handled by dedi an appropriate ACD agent on a first-come-first-served basis.
cated systems which assure that the management and control               Today, all full-featured PBXs provide the ACD function
operations are handled in a manner to keep up with the com and there are even vendors who provide switches specifically
munications process, and to avoid imposing inordinate designed to support the ACD function. The ACD function has
delays. In order to provide cost-effective performance, com 60 been expanded to provide statistical reporting tools, in addi
plex processes incidental to the management or control of the tion to the call queuing and call routing functions mentioned
communication are typically externalized. Thus, the commu above, which statistical reporting tools are used to manage the
nications process is generally unburdened from tasks requir call center. For example, ACD historical reports enable a
ing a high degree of intelligence, for example the evaluation manager to identify times: (a) when inbound callers abandon
of complex algorithms and real time optimizations. One pos 65 calls after long waits in a queue because, for example, the call
sible exception is least cost routing (LCR), which seeks to center is staffed by too few ACD agents and (b) when many
employ a communications channel which is anticipated to ACD agents are idle. In addition, ACD forecasting reports,
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based on the historical reports, allow the manager to deter             agents are busy, or allocates this call to the team member who
mine appropriate staffing levels for specific weeks and                 had been available the longest.
months in the future.                                                   Skill-Based Routing
Queue Management                                                           Skill-based routing of agents is a well known principle, in
    ACD systems experience high traffic periods and low traf 5 which the agent with the best match of skills to the problem
fic periods. Consequently, ACD Systems must be capable of presented is selected for handling the matter. Typically, these
automating two major decisions. The first major decision may matters involve handling of telephone calls in a call center,
be referred to as the "agent selection decision, i.e., when and the technology may be applied to both inbound and
more than one agent is available to handle the next transac outbound                calling, or a combination of each. The skill-based
tion, which agent should be chosen? The second major deci 10 routing             algorithms may also be used to anticipate call center
sion may be referred to as the “transaction selection deci needs,               and therefore be used to optimally schedule agents for
                                                                        greatest efficiency, lowest cost, or other optimized variable.
Sion, i.e., when more than one transaction is waiting for the              In the case of multi-skill criteria, the optimality of selection
next available agent and an agent becomes available, which may                be based on a global minimization of the cost function or
transaction should the agent handle?                                 15 the like.
    One approach to the agent selection decision is to set up a            The longest-idle-agent approach and the FIFO approach
sequencing scheme, so that the Switch of the ACD System function well in applications having little variation in the
follows the same sequence of agents until the first available types of transactions being handled by the ACD agents. If all
agent in the sequence is found. The concern with this agents can handle any transaction, these approaches provide
approach is that it creates "hot seats, i.e. an inequitable a Sufficiently high level of transactional throughput, i.e., the
distribution of inbound calls to ACD agents who are high in number of transactions handled by the call center in a par
the sequence. Most current ACD Systems solve the agent ticular time interval. However, in many call center environ
selection decision by using a longest-idle-eligible-agent ments, the agents are not equally adept at performing all types
approach to provide a more equitable distribution of transac of transactions. For example, some transactions of a particu
tions.                                                               25 lar call center may require knowledge of a language other
    There are also different approaches to the transaction selec than the native language of the country in which the call
tion decision in which there are more available transactions            center is located. As another example, some transactions may
than there are ACD agents. One approach is to create one or require the expertise of “specialists' having training in the
more first-in, first-out (FIFO) queues. Under this approach,            specific field to which the transaction relates, since training
each transaction may be marked with a priority level by the 30 all agents to be knowledgeable in all areas would be cost
switch of the ACD system. When an agent becomes available, prohibitive. For ACD applications in which agents are not
the transaction with the highest priority is routed to the agent. equally adept at performing all transactions, there are a num
If several calls of equal priority are waiting in a queue, the call ber of problems which at least potentially reduce transac
which has been waiting the longest is routed to the available tional throughput of the call center. Three such problems may
agent. If the call center conducts outbound transactions, each 35 be referred to as the “under-skilled agent” problem, the “over
transaction is similarly submitted to a FIFO queue with a skilled agent problem, and the “static grouping problem.
priority designation, with the Switch routing transactions                 The under-skilled agent problem reduces transactional
from the queue to the agents.                                           throughput when the switch routes transactions to ACD
Queue/Team Management                                                   agents who do not have Sufficient skills to handle the trans
    Calls that arrive at a call center generally are classified into 40 actions. For example, a call may be routed to an English-only
“call types' based on the dialed number and possibly other speaking person, even though the caller only speaks Spanish.
information Such as calling number or caller responses to In another example, the transaction may relate to product
prompts from the network. The call center is typically served Support of a particular item for which the agent is not trained.
by an automatic call distributor (ACD), which identifies the When this occurs, the agent will typically apologize to the
call type of each incoming call and either delivers or queues 45 customer and transfer the call to another agent who is capable
it. Each call type may have a separate first-in-first-out queue of helping the customer. Consequently, neither the agents
in the ACD. In most existing call centers, the agents answer nor the customer's time is efficiently utilized.
ing calls are organized into one or more “teams, with each                 Inefficient utilization is also a concern related to the over
team having primary responsibility of the calls in one or more skilled agent problem. A call center may have fixed groupings
queues. This paradigm is sometimes referred to as "queue? 50 of agents, with each group having highly trained individuals
team.                                                                   and less-experienced individuals. Call-management may also
    In the queue?team model, Scheduling for each team can be designate certain agents as “specialists. Since it would be
done independently. Suppose, for example, that the call cen cost prohibitive to train all agents to be experts in all transac
terhandles calls for sales, service, and billing, and that each of tions. Ideally, the highly skilled agents handle only those
these call types is served by a separate team. The schedule for 55 transactions that require a greater-than-average skill level.
sales agents will depend on the forecast for sales call volume However, if a significant time passes without transactions that
and on various constraints and preferences applicable to the require highly skilled agents, the agents may be assigned to
agents being scheduled, but this schedule is not affected by calls for which they are over-qualified. This places the system
the call volume forecast for service or billing. Further, within in a position in which there is no qualified agent for an
the sales team, agents are typically considered interchange 60 incoming call requiring a particular expertise because the
able from a call handling viewpoint. Thus, within a team, agents having the expertise are handling calls that do not
schedule start times, break times and the like, may be traded require Such expertise. Again, the transactional throughput of
freely among agents in the team to satisfy agent preferences the call center is reduced.
without affecting scheduled call coverage. See, U.S. Pat. No.              Current ACD Systems allow agents to be grouped accord
5.325,292, expressly incorporated herein by reference.               65 ing to training. For example, a product Support call center
    In a queue?team environment, when a new call arrived, the may be divided into four fixed, i.e., “static groups, with each
ACD determines the call type and places it in the queue, if all group being trained in a different category of products sold by
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the company. There are a number of potentially negative Service at 1:00 p.m. This would lead to undesirable results.
effects of static grouping. Firstly, the call center management Moreover, with respect to the needs of a particular call type,
must devise some configuration of agents into groups. This a multi-skilled agent might provide no help over a given span
may be a costly process requiring extensive analysis and data of time, might be 100% available for calls of that type, or
entry. Secondly, the configuration that is devised is not likely might be available part of the time and handling other call
to be optimal in all situations. The pace and mix of transac types for another part of time.
tions will change during a typical day. At different times, the         All agents having a particular combination of skills may be
adverse effects of the under-skilled agent problem and the deemed a “skill group.” A central problem of skills-based
adverse effects of the over-skilled agent problem will vary scheduling is then finding a way to predict what fraction of
with respect to the transactional throughput of the call center. 10 scheduled agents from each skill group will be available to
Thirdly, when a new product is released, the devised configu each call type during each time interval being scheduled. If
ration likely will be less valuable. In response to changes in these fractions are known, then the effect of different agent
the size, pace and mix of the transaction load over the course schedules can be generated. Unfortunately, it is difficult or
of time, call management must monitor and adjust the per impossible to calculate the skill group availability fractions
formance of the current grouping configuration on an ongo 15 directly. These functions depend on the relative and absolute
ing basis. When trends are detected, the grouping configura call Volumes in each call type, on the particulars of the skills
tion should be changed. This requires the time and attention of based call distribution algorithms in the ACD, and on the
call center managers and Supervisors. Again, the transactional skills profiles of the total scheduled agent population. Par
throughput is reduced.                                               ticularly as ACD skills-based routing algorithms themselves
   It is thus known in the prior art to provide ACD systems that evolve and become more Sophisticated, the factors affecting
depart from the queue/team model described above. Calls are skill group availability become too complex for direct analy
still categorized into call types. In place of queues for the call sis. One proposed solution provides a feedback mechanism
types, however, queues associated with “skills' are provided. involving call handling simulation and incremental schedul
The ACD's call distribution logic for the call type determines ing, to schedule agents in a skills-based routing environment.
which queue or queues a call will occupy at various times 25 See, U.S. Pat. No. 6,044,355, expressly incorporated herein in
before it is answered. Agents are not organized into teams its entirety.
with exclusive responsibility for specific queues. Instead,             In accordance with this “skills-based scheduling method,
each agent has one or more identified "skills' corresponding a computer implemented tool is used to determine an opti
to the skills-based queues. Thus, both a given call and a given mum schedule for a plurality of Scheduled agents in a tele
agent may be connected to multiple queues at the same time. 30 phone call center, each of the plurality of scheduled agents
Agent skills designations may be further qualified, for having a combination of defined skills. The plurality of sched
example, as “primary or “secondary skills, or with some uled agents are organized into "skill groups with each group
other designation of skill priority or degree of skill attain including all scheduled agents having a particular combina
ment. The ACD. call distribution logic may take the skill tion of skills. The method begins by generating a plurality of
priority levels into account in its call distribution logic.      35 net staffing arrays, each net staff array associated with a given
   In a skills-based routing environment, the “matching” of call type and defining, for each time interval to be scheduled,
calls to agents by the ACD becomes more Sophisticated and an estimate of a difference between a given staffing level and
thus complicated. Agents who have more than one skill no a staffing level needed to meet a current call handling require
longer “belong to a well-defined team that handles a ment. In addition to the net staffing arrays, the method uses a
restricted set of calls. Instead, the skills definitions form 40 plurality of skills group availability arrays, each skills group
“implicit teams that overlap in complex ways. If, for availability array associated with the given call type and
example, a call center has 10 skills defined, then agents could defining, for each combination of skill group and time inter
in principle have any of 1024 possible combinations (2') of Val to be scheduled, an estimate of a percentage of scheduled
those skills Each skill combination could be eligible to handle agents from each skill group that are available to handle a call.
a different subset of the incoming calls, and the eligible subset 45 According to the method, the plurality of arrays are used to
might vary with time of day, number of calls in queue, or other generate a proposed schedule for each of the plurality of
factors used by the ACD in its call routing decisions.               scheduled agents. Thereafter, a call handling simulation is
   Today, call center managers want to connect a caller to an then run against the proposed schedule using a plurality of
ACD agent having exactly the right skills to serve the caller. ACD call distribution algorithms (one for each call type being
However, “skills based ACD agent groups are often small 50 scheduled). Based on the results of the call handling simula
and, as a result, whenever an inbound call arrives, all Such         tion, the net staffing arrays and the skills availability arrays
"skills based ACDagents may be busy. In such instances, the are refined to more accurately define the net staffing and skills
ACD function can take call back instructions from the caller         usage requirements. The process of generating a schedule and
and the ACD function can manage the callback functions, for then testing that schedule through the simulator is then
example, by assigning Such calls, in accordance with the 55 repeated until a given event occurs. The given event may be a
caller instructions, to a “skills based ACD agent whenever determination that the schedule meets some given acceptance
one becomes available.                                               criteria, a passage of a predetermined period of time, a pre
   Scheduling of agents in a skills-based environment is thus determined number of iterations of the process, or some com
a much more difficult problem than it is in a queue?team bination thereof. A proposed schedule is “optimized' when it
environment. In a skills-based environment, call types cannot 60 provides an acceptable call handling performance level and
be considered in isolation. Thus, for example, aheavy Volume an acceptable staffing level in the simulation. Once the pro
of Service calls might place higher demands on multi-skilled posed schedule is “optimized, it may be further adjusted
agents, causing an unforeseen shortage of coverage for Bill (within a particular skill group) to accommodate agent pref
ing calls. Further, agents with different skills cannot be con       CCS.
sidered interchangeable for call handling. Thus, trading lunch 65 U.S. Pat. No. 5,206,903 to Kohler et al. describes ACD
times between a Sales-only agent and a multi-skill agent equipment which uses static grouping. Each static group of
might lead to over-staffing Sales at noon while under-staffing agents is referred to as a “split, and each split is associated
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sequence' or ATS’ (from AT&T), allows customers to estab bound calls expecting the agent to be available, but the agent
lish maximum numbers of calls to be queued for each desti instead places their own call to another agent or a Supervisor,
nation, with a pre-defined alternative when a primary desti or has an incoming call connected to them, the outbound
nation is overloaded. Another offering, referred to as system may not have an agent available to handle an answered
“intelligent routing control’ or “IRC (from MCI), allows an outbound call. Additionally, if an agent is assigned to handle
ACD to refuse a call from the network, again resulting in incoming calls, but instead places a call to another agent or
pre-defined alternative call handling. A third kind of service, listens to voice mail messages, the number of queued incom
AT&T's Intelligent Call Processing, lets the interexchange ing calls may increase, thereby increasing the waiting time
network pass call-by-call data to a computer.                        experienced by the callers.
   In a conventional ACD, phone calls are processed on a 10 One document which provides considerable information
first-in, first-out basis: the longest call waiting is answered by on intelligent networks is “ITU-T Recommendation Q. 1219,
the next available agent. Answering calls across multiple Intelligent Network User's Guide for Capability Set 1, dated
automated call distributors (ACD) is typically done on a April, 1994. This document is incorporated herein by refer
first-in, first-out basis dependent upon time of receipt of the CCC.
call by each ACD, whether the call is directly connected or 15 One known system proposes a call-management method
forwarded. Another call distribution scheme is provided in and system for distributing calls to a plurality of individuals,
Gechter et al., U.S. Pat. No. 5,036,535. This patent discloses Such as automatic call distribution (ACD) agents, which
a system for automatically distributing telephone calls placed routes calls to the individuals based upon a correlation of
over a network to one of a plurality of agent stations con attributes of the individuals with calls that are tagged with
nected to the network via service interfaces, and providing identification of abilities that are advantageous to efficiently
status messages to the network. Gechter et al.'s disclosed processing the calls. That is, for each call that is to be distrib
system includes means for receiving the agent status mes uted, one or more skills that are relevant to efficient handling
sages and call arrival messages from the network, which of the call are determined and then used to route the call to an
means are connected via a network service interface to the           appropriate individual. In addition, call management prefer
network. Routing means responsive to the receiving means is 25 ences may also be accommodated.
provided for generating a routing signal provided to the net Personalization and Collaborative Filtering
work to connect the incoming call to an agent station through           Known systems allow personalization or prediction of user
the network. In the system disclosed in Gechter etal, when an type, preferences or desires based on historical data or limited
incoming call is made to the call router, it decides which agent information available. These known systems have been
station should receive the call, establishes a call with that 30 applied to a number of different domains.
agent station, and then transfers the original call onto the            In a non-collaborative personalization system, the avail
second call to connect the incoming caller directly to the able information about a person is analyzed, and based on this
agent station and then drops out of the connection.                  information, conclusions are drawn. In a collaborative sys
   U.S. Pat. No. 5,193,110 issued to Jones et al discloses an        tem, the available information is used to associate the person
integrated services platform for a telephone communications 35 with a group of other users having common attributes. By
system which platform includes a plurality of application grouping users, the data sets are more dense, permitting more
processing ports for providing different types of information detailed inferences to be drawn. The groups are defined by
services to callers. In Jones etals disclosed system, a master mapping user attributes in a multidimensional space, and then
control unit and a high speed digital Switch are used to control defining clusters of users having correlated traits. Further, the
processing of incoming phone calls by recognizing the type 40 use of data relating to past transactions of other users allows
of service requested by the caller and then routing the call to prediction of outcomes and sequences of actions, without
the appropriate processing port. The Jones et al system is having a true past example of the activity from that particular
disclosed as an adjunct to current Switching technology in USC.
public and private networks.                                            B. M. Sarwar, G. Kary pis, J. A. Konstan, and J. Riedl.
Intelligent CallManagement                                        45 Item-based collaborative filtering recommendation algo
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ensure that each outbound agent wastes little time in dialing the 2002 International Conference on Intelligent User Inter
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incoming calls and placing outgoing calls. A call center may PolyLens: A Recommender System for Groups of Users.
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SIlips.gZ eBusiness Model Design, Classification and Mea k.edu/.about.yarkhan/neural networks.html www.physi
surements—Dubosson-Torbay inforge.unil.ch/yp/Pub/01 35 ol.ox.ac.uk/..about.ket/nn.html www.aaai.org/AITopics/html/
thunderbird.pdf      Beyond          Document      Similarity    neural.html www.inference.phy.cam.ac.uk/mackay/itprinn/
Understanding . . . —Paepcke . . . www-db. Stanford.edu/. book.html                www.hh..se/staff/nicholas/NN Links.html
about.cho/papers/info-filter.pdf Lightweight Collaborative Xpidea.com/products/neuroVcl/neuroabout.htm www.ms
Filtering Method for . . . —Lightweight . . . www.research. mele.tue.nl/research/neural/homepages.goldsmiths.ac.uk/
ibm.com/dar/papers/pdf/weiss pkdd01.pdf Mechanisms For 40 nikolaev/Nnets.htm www.triumf.ca/project ETA/neural
Coping With Unfair Ratings And . . . —Chrysanthos . . .          network.html         personal.bgsu.edu/.about. Suny/nn.html
(2000) ccs.mit.edu/del/icis2000.pdf The MARS Adaptive www.icmc.Sc.usp.brLabout.andre/ann links.html WWW.
Social Network for Information Access ...—Results Bin Yu         stud.ntnu.noLabouthirpa/linkS/All links.htm it.umary.edu/
www4.ncsu.edu/..about...byu/papers/mars-experiments.pdf          Library/research/www Subjects/neural networks.html cin
An adaptive system for the personalized access to news— 45 dy.cis.netu.edu.tw/NN/NN5/www.html                www.public.ia
Ardissono, Console, Torre www.di.unito.it/..aboutliliana/        state.edu/..about.acl/links/links.html www.cs.cf.ac.uk/User?
EC/aiComm()1.pdf Web Usage Mining for a Better Web               O.F.Rana/neural.html             www.cs.unredu/..about. bebis/
Based       Learning       Environment—Zaiane         (2001)    CS791S/www.geocities.com/fastiland/NNwww.html cns
www.cs.ualberta.ca/about.Zaiane/postscript/CATE2001.pdf web.bu.edu/pub/snorrason/bookmarks/neural.html
Augmenting Recommender Systems by Embedding Inter 50 www.open.brain.riken.go.jp about.cao/index work.html
faces ... —Antonietta Grasso. . . (1999) www.xrce.Xerox. www.eng.cam.ac.uk/research/neural/other neural
com/research/ct/publications/Documents/P10226/co-ntent/         net sites.html
HICSS-33.ps Extending Recommender Systems: A Multidi              The following references are expressly incorporated herein
mensional Approach—Adomavicius, TuZhilin www.mineit. by reference: U.S. Pat. Nos. 6,418,424; 6,400.996; 6,081,
com/Idijcai/papers/adomavicius.pdf MOVIES2GO A new 55 750; 5,920,477; 5,903,454:5,901,246; 5,875,108; 5,867,386;
approach to online movie recommendation—Mukherjee,              5,774,357; 6,529,891; 6,466,970; 6,449,367; 6,446,035:
Dutta, Sen www.mineit.com/lc/ijcai/papers/mukherjee.pdf 6,430,558; 6,412,012; 6,389,372; 6,356,899; 6,334,131:
Passive Profiling from Server Logs in an Online 6,334,127; 6,327,590; 6,321,221; 6,321, 179; 6,317,722:
Recruitment . . . —Barry www.mineit.com/Idijcai/papers/ 6,317,718; 6,266,649; 6,256,648; 6.253,193; 6,236,980;
rafter.pdf A Theoretical Analysis of Query Selection for Col 60 6,236,978; 6,185,683; 6,177,932; 6,170,742: 6,146,026;
laborative . . . —Lee, Long www.comp.nus.edu.sg/..about.        6,138,119; 6,112,186: 6,112,181; 6,078,928; 6,016,475;
leews/publications/colt01.ps Experience in Ontology Engi 5,999,908: 5,560,011; 6,484,123; 6,480,844; 6,477,246;
neering for a Multi-Agents Corporate ... —Gandon (2001) 6,421,709; 6,405,922; 6,353,813; 6,345,264; 6,314,420;
www-Sop.inria.fr/acacia/personnel/Fabien. Gandon/re             6,308,175; 6,144,964; 6,029,161; 6,018,738; 6,016,475;
search/IJCAI2001/articl-e fabien gandon ijcai2001.ps         65 6,006,218; 5,983,214; 5,867,799; and 5,790,935. See also
Agent-Mediators In Media-On-Demand Eletronic Com references cited in U.S. patent application Ser. No. 10/385,
merce—Joo Paulo Andrade www.home.cs.utwente.nl/..about.          389. See, U.S. Pat. Nos. 4,048,452; 4,737,983, 4,757,529;
         Case 6:23-cv-00575-ADA Document 1-5 Filed 08/07/23 Page 23 of 39


                                                     US 8,831,205 B1
                             29                                                                    30
4,893,301: 4,953,204; 5,073,890: 5,278,898; 5,309,513;              text Markup Language (HTML) browser based software
5,369,695; 5,506,898; 5,511,117: 5,519,773: 5,524,147;              “applet” to track auctions. For example, ONSALE.COM has
5,590, 188: 5,633,922; 5,633,924; 5,715,307; 5,740,240;             made available a Marimba Castanet(R) applet called Bidwatch
5,768,360; 5,825,869; 5,848,143; 5,870.464; 5,878,130;              to track auction progress for particular items or classes of
5,901,214; 5,905,792; 5,907,608; 5,910,982; 5,915,011;              items, and to facilitate bidding thereon. This system, how
5,917,903; 5,923,745; 5,926,539; 5,933,492; 5,940,496,              ever, lacks real-time performance under many circumstances,
5,940,947; 5,946,387; 5,953,332; 5,953,405; 5,956,397;              having a stated refresh period of 10 seconds, with a long
5,960,073; 5,963,632; 5,970,134; 5,978,465; 5,982,868;              latency for confirmation of a bid, due to constraints on Soft
5,987,116; 5,987,118; 5,991,391; 5,991,392; 5,991,395;              ware execution, quality of service in communications
5,995,614; 5,995,615; 5,999,965; 6,002,760; 6,005,931; 10 streams, and bid confirmation dialogue. Thus, it is possible to
6,044,146; 6,058,435; 6,061,347; 6,064,667; 6,072,864;              lose a bid even if an attempt was made prior to another bidder.
6,104,801: 6,115,462: 6,118,865; 6,122,358; 6,122,360;              The need to quickly enter the bid, at risk of being too late,
6,122,364; 6,128.380; 6,134,530; 6,147,975; 6,157,655;              makes the process potentially error prone.
6,175,563; 6,175,564: 6,185,292; 6,223,165; 6,226,289:                 Proxy bidding, as discussed above, is a known technique
6,229,888; 6,230, 197; 6,233,332, 6,333,979; 6,333,980; 15 for overcoming the constraints of Internet communications
6,347,139; and U.S. patent application Nos. 010000458 A1; and client processing limitations, since it bypasses the client
0010024497 A1: 0020006191 A1: 0020009190 A1;                        and telecommunications links and may execute solely on the
002001984.6 A1; and 0020021693 A1, each of which is                 host system or local thereto. However, proxy bidding under
expressly incorporated herein by reference.                         mines some of the efficiencies gained by a live market.
Internet Auctions                                                      U.S. Pat. No. 5,890,138 to Godin, et al. (Mar. 30, 1999),
   On-line electronic auction systems which allow efficient expressly incorporated herein by reference in its entirety,
sales of products and services are well known, for example, relates to an Internet auction system. The system implements
EBAY.COM, ONSALE.COM, UBID.COM, and the like.                       a declining price auction process, removing a user from the
Inverse auctions that allow efficient purchases of product are auction process once an indication to purchase has been
also known, establishing a market price by competition 25 received. See, Rockoff, T.E., Groves, M.: “Design of an Inter
between sellers. The Internet holds the promise of further net-based System for Remote Dutch Auctions'. Internet
improving efficiency of auctions by reducing transaction Research, V 5, n 4, pp. 10-16, MCB University Press, Jan. 1,
costs and freeing the “same time-same place' limitations of 1995.
traditional auctions. This is especially appropriate where the         A known computer site for auctioning a product on-line
goods may be adequately described by text or images, and 30 comprises at least one web server computer designed for
thus a physical examination of the goods is not required prior serving a host of computer browsers and providing the brows
to bidding.                                                         ers with the capability to participate in various auctions,
   In existing Internet systems, the technological focus has where each auction is of a single product, at a specified time,
been in providing an auction system that, over the course of with a specified number of the product available for sale. The
hours to days, allow a large number of simultaneous auctions, 35 web server cooperates with a separate database computer,
between a large number of bidders to occur. These systems separated from the web server computer by a firewall. The
must be scalable and have high transaction throughput, while database computer is accessible to the web computer server
assuring database consistency and overall system reliability. computer to allow selective retrieval of product information,
Even so, certain users may selectively exploit known techno which includes a product description, the quantity of the
logical limitations and artifacts of the auction system, includ 40 product to be auctioned, a start price of the product, and an
ing non-real time updating of bidding information, especially image of the product. The web server computer displays,
in the final stages of an auction.                                  updated during an auction, the current price of the product,
   Because of existing bandwidth and technological hurdles, the quantity of the product remaining available for purchase
Internet auctions are quite different from live auctions with and the measure of the time remaining in the auction. The
respect to psychological factors. Live auctions are often 45 current price is decreased in a predetermined manner during
monitored closely by bidders, who strategically make bids, the auction. Each user is provided with an input instructing
based not only on the “value' of the goods, but also on an the system to purchase the product at a displayed current
assessment of the competition, timing, psychology, and price, transmitting an identification and required financial
progress of the auction. It is for this reason that so-called authorization for the purchase of the product, which must be
proxy bidding, wherein the bidder creates a preprogrammed 50 confirmed within a predetermined time. In the known system,
“strategy”, usually limited to a maximum price, are disfa a certain fall-out rate in the actual purchase confirmation may
Vored. A maximum price proxy bidding system is somewhat be assumed, and therefore some overselling allowed. Further,
inefficient, in that other bidders may test the proxy, seeking to after a purchase is indicate, the user's screen is not updated,
increase the bid price, without actually intending to purchase, obscuring the ultimate lowest selling price from the user.
or contrarily, after testing the proxy, a bidder might give up, 55 However, if the user maintains a second browser, he can
even below a price he might have been willing to pay. Thus, continue to monitor the auction to determine whether the
the proxy imposes inefficiency in the system that effectively product could have been purchased at a lower price, and if so,
increases the transaction cost.                                     fail to confirm the committed purchase and purchase the same
   In order to address a flurry of activity that often occurs at goods at a lower price while reserving the goods to avoid risk
the end of an auction, an auction may be held open until no 60 of loss. Thus, the system is flawed, and may fail to produce an
further bids are cleared for a period of time, even if advertised efficient transaction or optimal price.
to end at a certain time. This is common to both live and              An Internet declining price auction system may provide the
automated auctions. However, this lack of determinism may ability to track the price demand curve, providing valuable
upset coordinated Schedules, thus impairing efficient busi marketing information. For example, in trying to determine
ness use of the auction system.                                  65 the response at different prices, companies normally have to
   In order to facilitate management of bids and bidding, conduct market Surveys. In contrast, with a declining price
some of the Internet auction sites have provided non-Hyper auction, Substantial information regarding price and demand
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is immediately known. The relationship between participat cluded or not and appropriate messages are transmitted. At
ing bidders and average purchasers can then be applied to any point in the auction, bidders are provided the opportunity
provide a conventional price demand curve for the particular to submit not only their current bids, but also to enter future
product. U.S. Pat. No. 5,835,896, Fisher, et al., issued Nov. bids, or bidding rules which may have the opportunity to
10, 1998, expressly incorporated herein by reference in its become relevant at future times or prices, into the auction
entirety, provides method and system for processing and system's database. Participants may revise their executory
transmitting electronic auction information over the Internet, bids, by entering updated bids. Thus, at one extreme, a bidder
between a central transaction server system and remote bid who wishes to economize on his time may choose to enter his
der terminals. Those bids are recorded by the system and the entire set of bidding rules into the computerized system at the
bidders are updated with the current auction status informa 10 start of the auction, effectively treating this as a sealed-bid
tion. When appropriate, the system closes the auction from auction. At the opposite extreme, a bidder who wishes to
further bidding and notifies the winning bidders and losers as closely participate in the auction may choose to constantly
to the auction outcome. The transaction server posts informa monitor the auction’s progress and to Submit all of his bids in
tion from a database describing a lot available for purchase, real time. See also, U.S. patent application Ser. No. 08/582,
receives a plurality of bids, stored in a bid database, in 15 901 filed Jan. 4, 1996, which provides a method for auction
response to the information, and automatically categorizes ing multiple, identical objects and close Substitutes.
the bids as successful or unsuccessful. Each bid is validated,   E-Commerce Systems
and an electronic mail message is sent informing the bidder of     U.S. Pat. No. 5,946,669 (Polk, Aug. 31, 1999), expressly
the bid status. This system employs HTTP, and thus does not      incorporated herein by reference, relates to a method and
automatically update remote terminal Screens, requiring the      apparatus for payment processing using debit-based elec
e-mail notification feature.                                     tronic funds transfer and disbursement processing using
   The auction rules may be flexible, for example including addendum-based electronic data interchange. This disclosure
Dutch-type auctions, for example by implementing a price describes a payment and disbursement system, wherein an
markdown feature with Scheduled price adjustments, and initiator authorizes a payment and disbursement to a collector
English-type (progressive) auctions, with price increases cor 25 and the collector processes the payment and disbursement
responding to Successively higher bids. In the Dutch type through an accumulator agency. The accumulator agency
auction, the price markdown feature may be responsive to processes the payment as a debit-based transaction and pro
bidding activity overtime, amount of bids received, and num cesses the disbursement as an addendum-based transaction.
ber of items bid for. Likewise, in the progressive auction, the The processing of a debit-based transaction generally occurs
award price may be dependent on the quantity desired, and 30 by electronic funds transfer (EFT) or by financial electronic
typically implements a lowest successful bid price rule. Bids data interchange (FEDI). The processing of an addendum
that are below a preset maximum posted selling price are based transaction generally occurs by electronic data inter
maintained in reserve by the system. If a certain sales Volume change (EDI).
is not achieved in a specified period of time, the price is         U.S. Pat. No. 6,005,939 (Fortenberry, et al., Dec. 21, 1999),
reduced to liquidate demand above the price point, with the 35 expressly incorporated herein by reference, relates to a
new price becoming the posted price. On the other hand, if a method and apparatus for storing an Internet user's identity
certain sales Volume is exceeded in a specified period of time, and access rights to World Wide Web resources. A method
the system may automatically increase the price. These auto and apparatus for obtaining user information to conduct
matic price changes allow the seller to respond quickly to secure transactions on the Internet without having to re-enter
market conditions while keeping the price of the merchandise 40 the information multiple times is described. The method and
as high as possible, to the seller's benefit. A “Proxy Bidding   apparatus can also provide a technique by which secured
feature allows a bidder to place a bid for the maximum access to the data can be achieved over the Internet. A pass
amount they are willing to pay, keeping this value a secret, port containing user-defined information at various security
displaying only the amount necessary to win the item up to the levels is stored in a secure server apparatus, or passportagent,
amount of the currently high bids or proxy bids of other 45 connected to computer network. A user process instructs the
bidders. This feature allows bidders to participate in the elec passport agent to release all or portions of the passport to a
tronic auction without revealing to the other bidders the recipient node and forwards a key to the recipient node to
extent to which they are willing to increase their bids, while unlock the passport information.
maintaining control of their maximum bid without closely            U.S. Pat. No. 6,016,484 (Williams, et al., Jan. 18, 2000),
monitoring the bidding. The feature assures proxy bidders the 50 expressly incorporated herein by reference, relates to a sys
lowest possible price up to a specified maximum without tem, method and apparatus for network electronic payment
requiring frequent inquiries as to the state of the bidding.     instrument and certification of payment and credit collection
   A "Floating Closing Time’ feature may also be imple utilizing a payment. An electronic monetary system provides
mented whereby the auction for a particular item is automati for transactions utilizing an electronic-monetary system that
cally closed if no new bids are received within a predeter 55 emulates a wallet or a purse that is customarily used for
mined time interval, assuming an increasing price auction. keeping money, credit cards and other forms of payment
Bidders thus have an incentive to place bids expeditiously, organized. Access to the instruments in the wallet or purse is
rather than waiting until near the anticipated close of the restricted by a password to avoid unauthorized payments. A
auction.                                                         certificate form must be completed in order to obtain an
   U.S. Pat. No. 5,905,975, Ausubel, issued May 18, 1999, 60 instrument. The certificate form obtains the information nec
expressly incorporated herein by reference in its entirety, essary for creating a certificate granting authority to utilize an
relates to computer implemented methods and apparatus for instrument, a payment holder and a complete electronic wal
auctions. The proposed system provides intelligent systems let. Electronic approval results in the generation of an elec
for the auctioneer and for the user. The auctioneer's system tronic transaction to complete the order. If a user selects a
contains information from a user system based on bid infor 65 particular certificate, a particular payment instrument holder
mation entered by the user. With this information, the auc will be generated based on the selected certificate. In addi
tioneer's system determines whether the auction can be con tion, the issuing agent for the certificate defines a default
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bitmap for the instrument associated with a particular certifi bilistic polling. During each transaction, with some Small
cate, and the default bitmap will be displayed when the cer probability, the vendor forwards information about this trans
tificate definition is completed. Finally, the number associ action to the bank. This enables the bank to maintain an
ated with a particular certificate will be utilized to determine accurate approximation of a customer's spending. The fre
if a particular party can issue a certificate.                     quency of polling messages is related to the monetary value of
   U.S. Pat. No. 6,029,150 (Kravitz, Feb. 22, 2000), expressly transactions and the amount of overspending the bank is
incorporated herein by reference, relates to a system and willing to risk. For transactions of high monetary value, the
method of payment in an electronic payment system wherein cost of polling approaches that of the on-line schemes, but for
a plurality of customers have accounts with an agent. A cus micropayments, the cost of polling is a small increase over the
tomer obtains an authenticated quote from a specific mer 10 traffic incurred by the off-line schemes.
chant, the quote including a specification of goods and a             Micropayments are often preferred where the amount of
payment amount for those goods. The customer sends to the the transaction does not justify the costs of complete financial
agent a single communication including a request for pay security. In the micropayment scheme, typically a direct com
ment of the payment amount to the specific merchant and a munication between creditor and debtor is not required;
unique identification of the customer. The agent issues to the 15 rather, the transaction produces a result which eventually
customeran authenticated payment advice based only on the results in an economic transfer, but which may remain out
single communication and secret shared between the cus standing Subsequent to transfer of the underlying goods or
tomer and the agent and status information, which the agent services. The theory underlying this micropayment scheme is
knows about the merchant, and/or the customer. The cus             that the monetary units are Small enough Such that risks of
tomerforwards a portion of the payment advice to the specific failure in transaction closure is relatively insignificant for
merchant. The specific merchant provides the goods to the both parties, but that a user gets few chances to default before
customer in response to receiving the portion of the payment credit is withdrawn. On the other hand, the transaction costs
advice.                                                            of a non-real time transactions of Small monetary units are
   U.S. Pat. No. 6,047.269 (Biffar, Apr. 4, 2000), expressly Substantially less than those of secure, unlimited or poten
incorporated herein by reference, relates to a self-contained 25 tially high value, real time verified transactions, allowing and
payment system with creating and facilitating transfer of facilitating Such types of commerce. Thus, the rights manage
circulating digital Vouchers representing value. A digital ment system may employ applets local to the client system,
Voucher has an identifying element and a dynamic log. The which communicate with other applets and/or the server and/
identifying element includes information Such as the trans or a vendor/rights-holder to validate a transaction, at low
ferable value, a serial number and a digital signature. The 30 transactional costs.
dynamic log records the movement of the Voucher through               The following U.S. patents, expressly incorporated herein
the system and accordingly grows over time. This allows the by reference, define aspects of micropayment, digital certifi
system operator to not only reconcile the vouchers before cate, and on-line payment systems: U.S. Pat. Nos. 5,930,777;
redeeming them, but also to recreate the history of movement 5,857,023; 5,815,657; 5,793,868; 5,717,757; 5,666,416;
of a voucher should an irregularity like a duplicate voucher be 35 5,677,955; 5,839,119; 5,915,093; 5,937,394; 5,933.498:
detected. These vouchers are used within a self-contained          5,903,880; 5,903,651; 5,884.277; 5,960.083; 5,963,924;
system including a large number of remote devices that are 5,996,076; 6,016,484; 6,018,724; 6,021,202; 6,035,402;
linked to a central system. The central system cane linked to 6,049,786; 6,049,787; 6,058,381; 6,061448; 5,987,132:
an external system. The external system, as well as the remote 6,057,872; and 6,061,665. See also, Rivest and Shamir, “Pay
devices, is connected to the central system by any one or a 40 Word and MicroMint: Two Simple Micropayment Schemes'
combination of networks. The networks must be able to trans          (May 7, 1996); Micro PAYMENT transfer Protocol (MPTP)
port digital information, for example the Internet, cellular Version 0.1 (22 Nov. 1995) et seq., www.w3.org/pub/WWW/
networks, telecommunication networks, cable networks or              TR/WD-mptp: Common Markup for web Micropayment
proprietary networks. Vouchers can also be transferred from Systems, www.w3.org/TR/WD-Micropayment-Markup (9
one remote device to another remote device. These remote 45 June 1999); “Distributing Intellectual Property: a Model of
devices can communicate through a number of methods with Microtransaction Based Upon Metadata and Digital Signa
each other. For example, for a non-face-to-face transaction tures'. Olivia, Maurizio, olivia.modlang.denison.edu/~
the Internet is a choice, for a face-to-face or close proximity olivia/RFC/09/, all of which are expressly incorporated
transactions tone signals or light signals are likely methods. herein by reference.
In addition, at the time of a transaction a digital receipt can be 50 See also: 4,977,595; 5,237,159; 5,392,353: 5,511,121:
created which will facilitate a fast replacement of vouchers 5,621.201: 5,623,547; 5,679,940; 5,696,908; 5,754,939;
stored in a lost remote device.                                      5,768,385; 5,799,087; 5,812,668; 5,828,840; 5,832,089;
Micropayments                                                        5,850,446; 5,889,862; 5,889,863; 5,898,154; 5,901,229:
   U.S. Pat. No. 5,999,919 (Jarecki, et al., Dec. 7, 1999),          5,920,629; 5,926,548; 5,943,424; 5,949,045; 5,952,638:
expressly incorporated herein by reference, relates to an effi 55 5,963,648; 5,978,840; 5,983.208; 5,987,140; 6,002,767;
cient micropayment system. Existing software proposals for 6,003,765; 6,021,399; 6,026,379; 6,029,150; 6,029,151:
electronic payments can be divided into “on-line' schemes 6,047,067; 6,047,887; 6,055,508; 6,065,675; and 6,072,870,
which require participation of a trusted party (the bank) in each of which is expressly incorporated herein by reference.
every transaction and are secure against overspending, and             See, Game Theory references cited in U.S. patent applica
“off-line' schemes which do not require a third party and 60 tion Ser. No. 10/385,389.
guarantee only that overspending is detected when vendors              See also, U.S. Pat. Nos. 6,243,684; 6,230, 197; 6,229,888;
submit their transaction records to the bank (usually at the end 6,226,360; 6,226,287; 6,212,178; 6,208,970; 6,205,207;
of the day). A new “hybrid’ scheme is proposed which com 6,201.950; 6, 192,413: 6,192,121; 6,185,283: 6,178,240;
bines the advantages of both “on-line” and “off-line' elec 6,173,052: 6,170,011; RE37,001: 6,157,711; 6,154,535:
tronic payment schemes. It allows for control of overspending 65 6,154,528: 6,151,387: 6,148,065; 6,144,737; 6,137,870;
at a cost of only a modest increase in communication com 6,137,862: 6,134,530; 6,130,937; 6,128,376; 6,125,178:
pared to the off-line schemes. The protocol is based on proba 6,122,484; 6,122,364; 6,122,358; 6,115,693: 6,102,970;
         Case 6:23-cv-00575-ADA Document 1-5 Filed 08/07/23 Page 26 of 39


                                                    US 8,831,205 B1
                            35                                                           36
6,098,069; 6,097,806; 6,084,943: 6,070,142: 6,067,348;       The present invention provides a system and method for
6,064,973; 6,064,731: 6,064,730; 6,058,435: 6,055,307;    intelligent communication routing within a low-level com
6,052,453; 6,049,599; 6,044,368: 6,044, 149: 6,044,135:   munication server system. Therefore, it allows replacement
6,041,118; 6,041,116; 6,035,021; 6,031,899; 6,026,156:    or supplementation of telephone numbers, IP addresses.
6,026,149: 6,021,428; 6,021, 190; 6,021,114; 6,018,579;   e-mail addresses and the like, to identify targets accessible by
6,016,344; 6,014,439; 6,011,845: 6,009, 149: 6,005,928;   the system with high-level definitions, which are contextually
6,005,534: 6,002,760; 5,995,948: RE36,416; 5,991,761;     interpreted at the time of communications routing, to appro
5,991,604; 5,991,393; 5,987,116; 5,987,115; 5,982,857;    priately direct the communication. Therefore, the target of a
5,978,471; 5,978,467; 5,978,465; 5,974,135; 5,974,120;    communication is defined by an algorithm, rather than a
5,970,132: 5,966,429; 5,963,635; 5,956,392; 5,949,863; 10 predetermined address or simple rule, and the algorithm
5,949,854; 5,949,852; 5,946,394; 5,946,388; 5,943,403;    evaluated in real time for resolution of the target, to deliver the
5,940,813; 5,940,497; 5,940,493; 5,937,390; 5.937,055;     communication or establish a real or virtual channel.
5,933,480; 5,930.339: 5,926,528; 5,924,016: 5,923,746;        Alternately, the intelligence of the server may be used to
5,918,213; 5,917,893; 5,914,951: 5,913, 195; 5,912,947;    implement telephony or computer-telephony integration fea
5,907,601; 5,905,979; 5,903,641: 5,901,209; 5,898,762; 15 tures, other than destination or target.
5,898,759; 5,896,446; 5,894,505; 5,893,902; 5,878,126;        Therefore, according to the present invention, communi
5,872,833; 5,867,572; 5,867,564: 5,867,559; 5,857,013;     cations are, or may be, routed or other telecommunications
5,854,832: 5,850,428; 5,848,143: 5,841,852; 5,838,779;     features implemented, inferentially or intelligently, at a rela
5,838,772; 5,835,572; 5,828,734; 5,828,731; 5,825,869;     tively low level within the communications management
5,822,410; 5,822,401; 5,822,400; 5,815,566; 5,815,554;     architecture. For example, in a call center, the software sys
5,815,551; 5,812,642: 5,806,071; 5,799,077; 5,796,816;     tem which handles virtual or real circuit switching and man
5,796,791; 5,793,846; 5,787,159; 5,787,156; 5,774,537;     agement resolves the destination using an algorithm or the
5,768,355; 5,761,285: 5,748,711; 5,742,675; 5,740,233;     like, rather than an unambiguous target.
RE35,758; 5,729,600; 5,727,154; 5,724.4.18: 5,717,741;        An embodiment according to the present invention, the
5,703,935; 5,701.295; 5,699,418; 5,696,818; 5,696,809; 25 control over switching in a circuit switch is partitioned
5,692,034; 5,692,033; 5,687.225; 5,684.863; 5,675,637;     together with intelligent functions.
5,661,283; 5,657,074; 5,655,014: 5,655,013; 5,652,788:        Intelligent functions include, for example, but are not lim
5,646,988: 5,646,986: 5,638,436; 5,636,268; 5,636,267;     ited to, optimizations, artificial neural network implementa
5,633,917: 5,625,682: 5,625,676: 5,619,557: 5,610,978;     tion, probabilistic and stochastic process calculations, fuzzy
5,610,774; 5,600,710; 5,594.791; 5,594,790: 5,592,543: 30 logic, Baysian logic and hierarchical Markov models
5,590, 171; 5,588,049; 5,586, 179; 5,581,607; 5,581,604;   (HMMs), or the like.
5,581,602; 5,579,383; 5,579.377; 5,577,112: 5,574,784;        A particularly preferred embodiment provides a skill
5,572,586; 5,572.576; 5,570.419; 5,568,540: 5,561,711;     based call automatic call director for routing an incoming call
5,559,878: 5,559,867; 5,557,668; 5,555,295; 5,555,290:     in a call center to an appropriate or optimal agent. While
5,546,456: 5,546,452: 5,544,232: 5,544,220; 5,537.470; 35 skill-based routing technologies are known in the art, the
5.535,257; 5,533,109: 5,533,107; 5,533,103; 5,530.931:     intelligence for routing the call is separate from the Voice
5,528,666: 5,526,417: 5,524,140; 5,519,773; 5,517,566;     routing call management system. Thus, the prior art provides
5,515,421; 5,511,112: 5,506,898: 5,502,762; 5,495.528;     a separate and distinct process, and generally a separate sys
5,495,523; 5,493,690; 5,485,506; 5,481,596; 5,479,501;     tem or partition of a system, for evaluation of the skill based
5,479,487; 5,467,391; 5,465,286; 5,459,781; 5.448,631; 40 routing functionality. For example, while the low level voice
5,448,624; 5,442,693; 5,436,967: 5,434,906; 5,432,835;     channel switching is performed in a PBX, the high level
5,430,792: 5,425,093: 5,420,919; 5,420,852; 5,402,474;     policy management is often performed in a separate computer
5,400,393; 5,390,236; 5,381,470; 5,365,575; 5,359,645;     system, linked to the PBX through a packet switched network
5,351,285: 5,341,414: 5,341,412: 5,333,190; 5,329,579;     and/or bus data link.
5,327,490; 5,321,745; 5,319,703; 5,313,516; 5,311,577; 45 The present invention, however, integrates evaluation of
5,311,574; 5,309,505; 5,309,504; 5,297,195; 5,297,146;     intelligent aspects of the control algorithm with the commu
5,289,530; 5,283,818; 5,276,732: 5,253,289; 5,251,252:     nications management. This integration therefore allows
5,239,574; 5,224,153: 5,218,635; 5,214,688; 5,185,786;     communications to be established based on an inferential
5,168,517; 5,166,974; 5,164,981; 5,163,087; 5,163,083:     description of a target, rather than a concrete description, and
5,161,181; 5,128,984; 5,121,422: 5,103,449; 5,097.528; 50 allows a plurality of considerations to be applied, rather than
5,081,711; 5,077,789; 5,073,929: 5,070,526; 5,070,525;     a single unambiguous decision rule.
5,063,522; 5,048,075; 5,040,208; 5,020,097; 5,020,095;        An aspect of the present invention therefore proposes an
5,016,270; 5,014,298; 5,007,078: 5,007,000; 4,998,272:     architectural change in the computer telephony integrated
4,987,587; 4,979,171; 4,975,841; 4,958,371; 4.941, 168;    (CTI) systems, wherein the CTI host takes on greater respon
4,935,956; 4,933,964; 4,930, 150: 4,924.501; 4.894,857: 55 sibilities, for example intelligent tasks, than in known sys
4,878,243; 4.866,754; 4,852,149; 4,807,279; 4,797,911;     tems. In this case, the host is, for example, a PC server having
4,768,221; 4,677,663; and 4,286,118, each of which is               a main processor, for example one or more Intel Pentium 4
expressly incorporated herein by reference.                         Xeon or AMD Athlon MP processors, and one or more voice
                                                                    channel processors, such as Dialogic D/320-PCI or D/160SC/
           SUMMARY AND OBJECTS OF THE                            60 LS, or PrimeNet MMPCI, or the like. In this type of system,
                         INVENTION                                  the voice channel processor handles connections and Switch
                                                                    ing, but does not implement control. The control information
   The summary description of the invention herein provides is provided by the main processor over, for example, a PCI
disclosure of a number of embodiments of the invention.             bus, although some or all control information may also be
Language describing one embodiment or set of embodiments 65 relayed over a mezzanine bus. Because the actual Voice chan
is not intended to, and does not, limit or constrain the scope of nel processing is offloaded from the main processor, real time
other embodiments of the invention.                                 response with respect to voice information is not required.
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Therefore, the main processor may operate and be controlled tasks similar in nature are analyzed to determine which skills
by a standard operating system, in contrast to a real time were involved, and to what extent. Typically, since the skill set
operating system. While the control processor does operate definitions are normative, the task-skill relationships are
under certain latency constraints, these are quite long as com derived from data for various or all agents, and need not be
pared to the response latency required of the Voice channel limited to the data pertaining to a single or respective agent.
processors. This, in turn, allows the main processor(s) to The weighting may be adaptive, that is, the weighting need
undertake a plurality of tasks which are not deterministic, that not be invariant, and may change overtime based on a number
is, the time required to complete processing of a task is of factors. The weightings may also be time dependent, for
unknown and is not necessarily completed within a time example following a diurnal variation.
window. However, by using State of the art processors, such as 10 Each agent is assigned a metric with respect to each skill.
a 3.06 GHZ, Pentium processor, the amount of processing This process may be manual or automated, however, a num
which may be undertaken, meeting a reasonable expectation ber of advantages accrue from an automated analysis of agent
of processing latency, is Substantial. Thus, operating under skill level. Typically, an initial skill level will be assigned
the same instance of the operating system, for example shar manually or as a result of an off-line assessment. As the agent
ing the same message queue, as the interface between the 15 is presented with tasks, the proficiency of the agent is ana
main processor and the Voice channel processor(s), the sys lyzed, and the results used to define skill-specific metrics. As
tem according to the present invention may process advanced stated above, since the skill definitions are normative, the
and complex algorithms for implementing intelligent control.         skills of one agent are compared or comparable to skills of
This architecture reduces the required bandwidth for commu others. For example, the skill sets are assigned using a mul
nications with an external high level management system, as tivariate analysis technique, based on analysis of a plurality of
well as the processing load thereon. Likewise, since signifi transactions, predicting the best set of skills consistent with
cant decisions and resource allocations are made within the          the results achieved. In this analysis, each skill metric may be
Switching system, the need for high quality of service com associated with a reliability indicia; that is, in some instances,
munications channels between the Switching system and where the outcome of clearly determinable, and a skill as
management system is also reduced.                                25 defined is highly correlated with the outcome, the reliability
   Preferably, the intelligent algorithm for controlling the of the determined skill value for a statistically significant
Voice channels requires minimal access to a disk or mass sample size is high. On the other hand, where aparticular skill
storage based database. That is, for any transaction to be is relatively unrelated to the tasks included within the data
processed, preferably either all information is available to the analysis set, that is, the outcome factor is relatively uncorre
main processor at the commencement of the process, or an 30 lated with the value of the skill, the reliability of a determi
initial request is made at commencement of the process, with nation of an agent skill will be low.
no additional requests necessary to complete the process,               A related issue relates to inferring an agent skill level for a
although a stored database may be updated at the conclusion skill parameter where little or no data is available. For this
of the process. For example, as a call is received, Sufficient task, collaborative filtering may be appropriate. A collabora
information is gathered to define the caller, either by identity 35 tive filter seeks to infer characteristics of a person based on the
or characteristics. This definition may then trigger an initial characteristics of others having similar associated parameters
database lookup, for example to recall a user transaction file for other factors. See references cited and incorporated by
or a user profile. Preferably, therefore, a table or other data reference above. In this case, there is only a small analytic
structure is stored in low-latency memory, for example, difference between a parameter for which data is available
double data rate dynamic random access memory (DDR 40 from a respective agent, but yields an unreliable measure
RAM), which holds the principal parameters and information ment, and a parameter for which data is unavailable, but can
necessary for execution of the algorithm. Therefore, prefer be inferred with some reliability. Therefore, the skill deter
ably agent and system status information is present and main mining process may employ both techniques in a composite;
tained locally, and need not be recalled for each transaction.       as more data becomes available relating to an actual skill level
   According to a preferred embodiment of the invention, a 45 of an agent with respect to a skill parameter, reliance on
process is provided for optimizing the selection of an agent inferred skill levels is reduced. It is therefore an aspect of one
within the Voice channel Switching system. This process is a embodiment of the invention that a collaborative filter is used
multi step process. Only the laterpart of the process generally to infer agent skill levels where specific data is unavailable. It
need be completed in a time-critical fashion, e.g., as a fore is also an aspect of an embodiment of the invention that in
ground task. The initial part(s) of the process may be imple 50 addition to a skill level metric, a reliability estimate for the
mented over an extended period of time, so long as the data measurement of the skill level metric is also made available.
available for transactions is sufficient current to avoid signifi       It is noted that in defining a desired agent profile for a task,
cant errorS.                                                         the skill metrics themselves are subject to unreliability. That
   First, a set of skills are defined, which are generally inde is, the target skill levels themselves are but an estimate or
pendent skills, although high cross correlations between 55 prediction of the actual skills required. Therefore, it is also
skills would not defeat the utility thereof. The skill definitions possible to estimate the reliability of the target skill level
may be quite persistent, for example over a particular cam deemed desired. Where the target skill level is low or its
paign, call center, or even multiple call centers and multiple estimate unreliable, two separate and distinct parameters, the
campaigns. The skills generally are not subject to change selected agent may also have a low or unreliably determined
after being defined, although through advanced processing or 60 skill level for that attribute. On the other hand, where a skill is
reprocessing of data, clusters in multidimensional space may reliably determined to be high, the agent skill profile should
be defined or revised, representing “skills' Likewise, a also be high and reliably determined.
manual process may be employed to define the skill set.                 In other instances, the metric of skill does not represent a
   Next, for any given task, the skills are weighted. That is, the quantitative metric, but rather a qualitative continuum. For
importance of any skill with respect to the task is defined or 65 example, the optimal speech cadence for each customer may
predicted. This may also be a manual or automated process. In differ. The metric, in this case, represents a speech cadence
the case of an automated process for weighting the skills, past parameter for an agent. The idea is not to maximize the
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parameter, but rather to optimize it. Therefore, reliability in discrimination on an illegal basis, resulting in harm to either
this instance does not equate to a reduction in estimated callers or agents within a protected class. That is, a tradition
magnitude. It is also noted that a further ancillary parameter ally discriminated-against minority may be subjected to auto
may be applied for each skill, that is, tolerance to mismatch. mated and institutionalized discrimination as a result of an
For example, while call received by a call center, for technical algorithm which favors a discriminatory outcome. In fact, the
Support, may seek an agent who is more knowledgeable than discriminatory outcome may be both efficient and optimal,
the caller is with respect to the problem, but not one who is so under an economic or game theory analysis. However, this
far advanced that a communication gap would be apparent. may be undesired. One way to counteract this is to estimate
Thus, an optimum skill parameter as well as a range is the discriminatory impact of the algorithm as a whole and
defined. In like manner, other descriptors of a statistical func 10
tion or distribution may be employed, for example, kurtosis apply       effect
                                                                               a global antidiscriminatory factor. While this has the
                                                                               of correcting the situation on an overall level, it results
and skew.
   It is noted that there are a number of ways of scoring in an “unfair inefficiencies,
                                                                        in significant                and may result in a redistribution
outcome of a call, and indeed, a number of parallel scoring is itself a form of discrimination.the antidiscriminatory factor
                                                                                        manner.  Further,
systems may be employed, although they should be consis 15
tently applied; that is, if an agent is selected for handling a call       Another method for approaching this problem is to analyze
based on one paradigm, care should be employed in scoring the profile or skill vectors a the presumably discriminated
the agent or the call outcome using a different paradigm. Such against agent or customer classes, and compare this to the
cross analyses, however, may be useful in determining an corresponding vectors of non-discriminated-against class of
optimum outcome analysis technique.                                     agents or customers. Assuming that discrimination occurs on
   When a new matteris to be assigned to an agent, the pool of a class basis, then, a corrective factor may be used to normal
agents are analyzed to determine, based on the predefined ize components of the vector to eliminate the discriminatory
skills, which is the best agent. Selecting the best agent for a effect.
task is dependent on a method of scoring outcome, as dis                   A further method of remediating the perceived discrimina
cussed above. In some instances, there is a relatively simple 25 tion is through training. In this case, the presumably objective
process. For example, agents entrusted to sell a single product outcome determinations are not adjusted, nor is the “eco
can be scored based on number of units sold per unit time, or nomic' model for optimal agent selection disturbed. Instead,
the time it takes to close a sale. However, where different             a mismatch of the skill profile of an agent with the caller is
products are for sale, optimization may look at different used as an opportunity to modify behavior (presumably of the
parameters, such as call duration, revenues per call or unit 30 agent). Such that the deficiency is corrected.
time, profit per call or unit time, or the like. As the variety of         For example, a call center agent may have a characteristi
options for a user grows, so does the theoretical issues cally ethnic accent. In one case, the agent accent may be
involved in scoring an agent.                                           matched with a corresponding caller accent, assuming that
   It is also possible for agents to engage in an auction; that is, data shows this to be optimum. However, assuming that Vocal
agents bid for a caller. In this case, an agent must be suffi 35 ethnicity relates to Socioeconomic status, the result may be
ciently competent to handle the call based on the information that the value of the transaction (or other score value) is
available, and agents with skills far in excess of those required associated with this status. The goal would therefore be for
may be excluded from the bidder pool. For example, agents the agent to retrain his or her accent, and indeed use a different
may be compensated on a commission basis. The bidding accent based on an inferred optimal for the caller, or to over
may involve an agent bidding a commission rate (up to the 40 come this impediment by scoring well in transactions involv
maximum allowed). In this way, the employer gets the benefit ing those other than a “corresponding” accent. Each of these
of competition between agents. The bid, in this instance, may is subject to modification through agent training.
be a manual process entered into by the agent as a prior call is           Therefore, it is apparent that the optimization may be influ
being concluded.                                                        enced by economic and non-economic factors, and the opti
   The bid may also be automatically generated at an agent 45 mization may include objective and Subjective factors.
station, based on both objective and subjective factors. See,              The system may also intelligently analyze and control
U.S. Provisional Patent Application No. 60/445,346 (Steven other aspects of telecommunications besides call routing. For
M. Hoffberg, inventor), filed Feb. 4, 2003, expressly incor example, it is particularly advantageous to characterize the
porated herein by reference. That is, a bid may be automati caller, especially while the call is in the queue. However,
cally defined and submitted on behalf of an agent. The bid 50 increasing the amount of information which must be commu
may be defined based on an economic or other criteria.                  nicated between the switch control and a high-level system is
   The optimization of agent selection may also be influenced undesirable, thus limiting the ability to extract low-level
by other factors, such as training opportunities. Therefore, in information from the caller. Such information may include
determining a cost benefit of selection of a particular agent, a preferred language, a Voice stress analysis, word cadence,
training cost/benefit may also be included.                          55 accent, sex, the nature of the call (IVR and/or speech recog
   Thus, according to a simplistic analysis, the agent with the nition), personality type, etc. In fact, much of this information
highest score is selected. This is, indeed an “optimum’ con may be obtained through interaction and/or analysis of the
dition, assuming that there is uniform incremental cost in caller during the queue period. Further, in some instances, it
selecting each agent, and that the system remains static as a may be possible to resolve the caller's issues without ever
result of the selection. On the other hand, if agent costs differ, 60 connecting to an agent, or at least to determine whether a
or the system status is materially altered on the basis of the personal or automated resolution is preferred. According to
selection, or there are extrinsic factors, such as training, then an aspect of the invention, the Switch itself may control and
the optimum may also differ.                                            analyze the interaction with the caller. Advantageously, the
   A number of factors may also influence optimality of selec Switch may further perform a sensitivity analysis to determine
tion. While most are merely business-based considerations, 65 which factors relating to the call are most useful with respect
Some may be politically incorrect (bad public policy), or even to selecting an appropriate agent, and more particularly by
illegal. For example, an optimization may take into account limiting this analysis to the agents within the pool which are
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likely to be available. Further information characterizing the “cost', which is then subject to numeric analysis. Finally, the
user may also be gathered to construct a more detailed user optimization may itself evolve the skill sets and cost function,
profile.                                                            for example through training and reward/punishment.
   It is noted that, in Some cases, a caller prefers to remain         The cost of the “connection' between a caller and an agent
passive in the queue, while in other instances, the caller would may also be considered, for example in a multi-location call
prefer to actively assist in optimizing the experience. This center, or where agents are compensated on a per-call basis.
does not necessarily correlate with a universal caller profile,        Another factor to be considered in many cases is antici
nor the optimal selection of agent. This can be quickly ascer pated outcome. In some instances, the outcome is irrelevant,
tained, for example through IVR.                                    and therefore productivity alone is the criterion. On the other
   It is noted that an efficientanalysis performed by the switch 10 hand, in many cases, the agents serve a business purpose, and
may differ from an efficient analysis performed or controlled call outcomes may be graded in terms of achieving business
by a high level system. For example, a high level system may goals. In many instances, the business goal is simple an eco
employ speech recognition technology for each caller in a nomic parameter, such as sales Volume, profit, or the like, and
queue. The switch, on the other hand, would likely not be able may be directly computed within a cost function normalized
to implement speech recognition for each caller in a large 15 in economic units. On the other hand, some business goals,
queue internally. Further, since the profile of the caller and the Such as customersatisfaction, must be converted and normal
correspondence thereof to the agent skill profile, as well as the ized into economic terms prior to use in an optimization. In
correlation to the outcome, is dependent on the selection of any case, the expected outcome resulting from a particular
characteristics for analysis and outcome metric, the param agent may be added as a factor in the cost function.
eters of each, according to the present invention, will also           Another factor to consider in making a selection of an agent
likely differ.                                                      in a multi-skill call center is the availability of agents for other
   Returning now to the problem of routing a call using an calls, predicted or actual. Thus, while a selection of an agent
intelligent Switch, the condition of optimality in the case of for one matter may be optimal in a narrow context, the
equal incremental cost, a stationary system condition as a selected agent might be more valuable for another matter.
result of the selection, and Scalar skill parameters having a 25 Even if the other matter is predicted or statistical, in some
magnitude correlated to value, is denoted by the formula:           instances it is preferred to assign more specialized agents to
       An=Max X(rsas)
                                                                    matters that they can handle, rather than assigning multital
                                                                    ented agents.
   Which denotes that Agent “n” is selected by maximizing              This is represented as follows:
the sum, for each of the required skills s, of the product of 30
weighting for that skill rs, and the score for agent nas,
   As stated above, this optimization makes two very impor             Wherein Bc represents a term for the anticipated change in
tant, and not always applicable assumptions. First, more value of agent n as a result of the selection, Cc represents a
highly skilled agents often earn higher salaries. While, once term which indicates the anticipated value of the transaction
scheduled, presumably the direct cost is fixed, over the long 35 resulting from the selection of agent n, and Dc represents the
term, the pool of agents must be adjusted to the requirements, opportunity cost for allocating agent in to the particular call.
and therefore the selection of an “expensive' agent leads to           In the case of competing requests for allocation, a slightly
increased costs. On the other hand, by preferentially selecting different formulation of the problem may be stated. In that
the skilled agent over the unskilled agent, the job experience case, one might compare all of the cost functions for the
for the skilled agent may be diminished, leading to agent 40 matters in the queue with respect to each permissible pairing
retention problems. Likewise, the unskilled agent is not nec of agent and matter. Instead of selecting an optimal agent for
essarily presented with opportunities for live training. Thus, it a given matter, the system selects an optimal pairing of
is seen that the agent cost may therefore be a significant respective multiple agents with multiple matters. In the case
variable.                                                       of a call center, often the caller hold time is considered a basic
   The formula is therefore modified with a cost function as 45 criterion for selection. In order to weight this factor, for
follows:                                                        example, the cost function includes an allocation for caller
                                                                      hold time, and possibly a non-linear function is applied. Thus,
                                                                      a caller may be taken out of order for paring with an optimal
   Wherein Ac, and Ac, are agent cost factors for agent n. agent.
To determine the anticipated cost, one might, for example, 50 In some cases, the variance of a parameter is also consid
divide the daily salary by the average number of calls per day ered, in addition to its mean value. More generally, each
handled by the agent. This, however, fails to account for the parameter may itself be a vector, representing different
fact that the average length of a call may vary based on the aspects.
type of call, which is information presumed available, since           It is noted that the various factors used in the system may be
the skill set requirements are also based on a classification of 55 adaptive, that is, the predicted values and actual values are
the type of call. Further, an agent highly skilled in Some areas compared, and the formula or variables adjusted in a manner
may be relatively unskilled in others, making an average call which is expected to improve the accuracy of the prediction.
duration or average productivity quite misleading. Another Since outcome is generally measured in the same metric as
cost to be considered is training cost. Since this is generally the cost function, the actual cost is stored along with the
considered desirable, the actual value may be negative, i.e., an 60 conditions of the predictive algorithm, and the parameters
unskilled trainee may be selected over a highly skilled agent, updated according to a particular paradigm, for example an
for a given call, even though the simple incremental agent artificial neural network or the like. Typically, there will be
costs might tend toward a different result. Likewise, selection insufficient data points with respect to a system considered
of an agent for a certain call may be considered a reward or a static to perform an algebraic optimization.
punishment for good or bad performance, and this may also 65 The present invention provides cost function optimization
be allocated a cost function. The key here is that all of these capabilities at a relatively low level within the call routing
disparate factors are normalized into a common metric,              system. Thus, for example, prior systems provide relatively
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high level Software, operating on massive customer relations              On the other hand, if a high level CRM system is inter
management (CRM) database systems, to seek optimization. rupted to process each call event to globally reoptimize agent
   On the other hand, according to the present invention, the selection, and communicate this with the CTI software, a
parameters are Supplied in advance, generally in a batch for significant communication and transaction burden would be
mat, to the low level routing and computer integrated tele encountered.
phony (CTI) software, which computes the cost functions.                  Thus, the present invention proposes that the skill-based
Call outcome data is generally available during and after a call call routing algorithm be executed in conjunction with the
to the high level software, which can then set or adjust values low level CTI process, as an integral part of the call routing
as necessary for the future.                                           function. Likewise, other call-process related algorithms may
   It is noted that, generally, the architecture according to the 10 be implemented, in addition to or instead of a call routing
present invention would not generally provide agent sched calculation.
uling information, since this represents a task separate from             Advantageously, for example in many non-adaptive sys
the call routing functions. Therefore, known systems which tems, no high level CRM system is required, and the entire
integrate both tasks are typically distinguished from the skill-based routing functionality may be implemented in the
present invention. However, it would be possible as a separate 15 CTI system, saving significant hardware expense and soft
process for this to be performed on the telephony server ware complexity. Thus, where the cost function is relatively
according to the present invention. More generally, the updat simple to calculate, the skills required for the call and the
ing of agent skill tables or a database, and agent scheduling skills of each respective agent well known and relatively
and call center management, are performed on high level constant, a simple database may be provided for the CTI
systems which are discrete from the telephony server. These platform to route calls intelligently.
systems typically access large databases, generate reports,               Another aspect of the invention provides optimization of
and integrate many different functions independent of the communications management based on adaptive parameters,
communications functions.                                              e.g., not only on the existing skills of the respective agents,
   The advantage of a preferred architecture according to the but rather also based on an anticipated or predicted change in
present invention is that when a call is received, it can be 25 the agent's skills as a result of handling the call. Likewise,
routed in real time, rather than after a possibly significant when considering an overall cost function for optimizing call
delay. Further, this data processing partition reduces data directing, any variety of factors may be considered within its
communications bandwidth requirements and reduces trans context. Therefore, it an another object to provide a consoli
actional load on the CRM system. In addition, this architec dated cost function for communications management,
tural partition reduces the need for the CRM system to be 30 wherein pertinent factors or parameters are or may be
involved in low level call management, and reduces the need expressed in common terms, allowing unified consideration.
for the CTI software to continually interact with the high level According to a preferred embodiment of the invention, this is
CRM software. This, in turn, potentially allows use of simple handled at a low level within the communications manage
architecture CTI platforms using standard operating systems. ment system, although various aspects may be handled in real
   According to a preferred embodiment, the matter skill 35 time or otherwise at various levels of the communications
requirements, agent skill data, and other parameters, are pro management System.
vided to the CTI software, for example as an ASCII table. The             In the case of real time communications, such as traditional
CTI Software may, for example, invoke a Subprocess for each Voice telephony, the Switching must by definition occur in real
call received or in the queue, to determine the then-optimum time, so must the resolution of the parties to the communica
agent selection, for a local optimization, i.e., a selection of the 40 tion. Therefore, another aspect of the invention involves com
optimal agent without regard for the effect of this selection on munications and coordination in real time of the various
other concurrent optimizations. In order to globally optimize,         system components, including the low level system. Prefer
the processing is preferably unitary. As conditions change, for ably, the data upon which an optimization is based is available
example, further calls are added to the queue, or calls are locally to the low level system before a real time communi
completed, the optimizations may be recomputed.                     45 cation is received, so that external communications to resolve
   For example, in a call center with 500 agents, each classi the target are minimized. In some cases, communications
fied with respect to 32 skills, with an average of 2000 calls in with other system components will still be required, but pref
the queue, with about 50 agents available or anticipated to be erably these do not require essentially non-deterministic sys
available at any given time, the computational complexity for tems to respond prior to resolution.
each optimization is on the order of 160x10° (2000x50x50x 50 Another aspect of the invention seeks to optimize long term
32) multiplies, generally of 8 bit length. A 2 GHZ, Pentium 4 call center operations, rather than immediate efficiency per
processor, for example, is capable of theoretical performance se. Thus, at various times, the system performs functions
of about 2400 MFLOPS. Using a simplified calculation, this which are different or even opposite the result expected to
means that less than about 10% of the raw capacity of this achieve highest short term efficiency. Preferably, however,
processor would be required, and more powerful processors 55 during peak demand periods, the system assures high short
are being introduced regularly. For example, a 3.06 GHz term efficiency by Switching or adapting mode of operation.
Pentium 4 processor with “hyperthreading has recently been                Therefore, according to the present invention, a number of
introduced. In fact, in real-world situations, the processor additional factors are applicable, or the same factors analyzed
would likely not be able to achieve its benchmark perfor in different ways, beyond those employed in existing optimi
mance, but it is seen that a single modern processor can 60 Zations. Since most call centers are operational for extended
handle, in near real time, the required processing. Coproces periods of time, by analyzing and optimizing significant cost
sing systems are available which increased the processing factors beyond those contemplated by the prior art, a more
capability, especially with respect to independent tasks, while global optimization may be achieved.
allowing all processes to be coordinated under a single oper              In a service environment, the goal is typically to satisfy the
ating system. For example, Microsoft Windows and Linux 65 customer at lowest cost to the company. Often, this comes
both Support multiprocessing environments, in case increased through making a reasonable offer of compromise quickly,
processing capacity is required.                                       which requires understanding the issues raised by the cus
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tomer. Delay leads to three costs: the direct and indirect would be expected to operate with a certain degree of ineffi
operations cost; the possibility of increased demands by the ciency to complete the call. In some cases, unsupervised
customer (e.g., impaired business marginal utility of the com training is instituted. In other cases, a training agent (or auto
munication); and the customer satisfaction cost.                mated system) is allowed to shadow the call, providing assis
   In technical Support operations, the agent must understand tance, instruction and/or monitoring of the trainee agent dur
the technical issues of the product or service. The agent must ing the call. In this case, it would be anticipated that the call
also understand the psychology of the user, who may be duration would be greater than 5 minutes, due to the training
frustrated, angry, apologetic, or even lonely. The agent must nature of the call. Further, the required trainer assistance
often remotely diagnose the problem, or understand the infor further reduces immediate efficiency. However, as the agents
mation provided by the caller, and communicate a solution or 10 in the pool become more skilled, long term efficiency
resolution.                                                         increases.
   In some instances, these seemingly abstract concepts are          Preferably, these characteristics are extracted through an
represented in relatively basic terms at the communications analysis, by the communications control system, of the avail
server level. For example, the cadence of a speaker may be able data, although where appropriate, reference to higher
available by a simple analysis of a Voice channel for silence 15 level systems may be performed. Thus, in an interactive Voice
and word rate. Stress may also represented in a spectral analy (or key) response system, there may be sufficient time and
sis of Voice or in other known manner. Alcoholism or other        resources available to query a high level system for data or
impairment may be detected by word slurring, which may request analysis relating to a call. However, in many
also be detected by certain signature patterns in the Voice instances, significant analysis may be performed using the
pattern.                                                          computing resources and information available to the low
   It is noted that, in some instances, the skill related param level communication processing system. Even where the
eters are not independent. That is, there is a high cross corre information is not available, a DNIS or other type of lookup
lation or other relationship between the parameters. In other may provide this information based on a relatively simple
instances, there are non-linearities in the process. A simple query.
Summing of magnitude times weight for these parameters 25 More highly skilled agents are both worth more and gen
may introduce errors. Therefore, a more complex algorithm erally command higher compensation. A program which
may be employed, without departing from the spirit or scope trains agents internally is either required, due to lack of spe
of the present invention.                                         cific external training programs, or is cost effective, since new
   Likewise, for each caller profile class, a different optimi hires can be compensated at a lower rate than trained and
Zation may be employed. There are some traits, such as alco 30 experienced hires. Thus, for long-term operations, there is an
holism, which may alter the optimal selection of agent, all incentive to train agents internally, rather than seeking to hire
other thing being equal.                                          trained agents. Therefore, according to another aspect of the
   Therefore, communications routing on seemingly sophis invention, Such training, past present and/or future, is mon
ticated or abstract concepts may be efficiently handled at a etized and employed in optimization of a cost function.
low level without interrupting the basic call processing func 35 Agents may receive additional compensation for training
tions or requiring non-standard hardware. In this sense, “non activities, either for their training activities, performance
standard” refers to a general purpose type computing plat based compensation based on the improvement of their train
form performing the communications routing functions. In ees, or both. Thus, there is an incentive for agents to become
fact, efficiency is generally enhanced according to the present skilled and to assist in the training. As a result, the average
invention by avoiding the need for remote communications of 40 skill level and uniformity in a call center will increase. How
the call parameters and the resulting communications and ever, since the optimal skill palette within a call center typi
processing latencies. Of course, in certain tightly coupled cally is a moving target, the training process will never cease.
environments, the target resolution may be performed on a            Often, live interaction is an important component of train
physically separate processor or system from the low level ing. Therefore, a significant component of the training
call processing, without deviating from the essential aspects 45 encompasses interaction with callers in real-world situations.
of embodiments of the invention.                                  Training often involves presenting agents with new chal
   In many cases, the caller characteristics and issues will lenges and experiences in order to assure breadth of exposure.
often have a significant effect on the duration of the call.         According to prior skill-based routing schemes, an agent
While, in general, more skilled agents will have a higher skill level is considered a static upper limit on capabilities,
productivity, in some cases, the caller restricts throughput. 50 and the ACD avoids distributing calls to agents below a
Therefore, even though the agent is capable of completing the threshold. Agents may be called upon to serve requests within
call quickly, the caller may cause inordinate delays. Accord their acknowledged skill set. Likewise, this allows a simple
ing to the present invention, through a number of methods, the and discrete boundary condition to be respected in the opti
caller characteristics are determined or predicted, and an mization according to the present invention.
appropriate agent selected based on the anticipated dynamic 55 On the other hand, according to some embodiments of the
of the call. Thus, for example, if the anticipated call duration present invention, each call is considered a potential training
for a Successful outcome, based on the caller characteristics is  exercise, in order to expand the capabilities of the agent, and
a minimum of 5 minutes (depending on the agent), then an therefore the boundary is not concretely applied. Therefore,
agent who is likely to complete the call in about 5 minutes to the extent that the nature of the call can be determined in
may be selected as the optimum; agents who would be able to 60 advance, the incentive according to this scheme is to route the
complete the call within 4 minutes, while technically more call to an agent who is barely capable of handling the call, and
productive, may have little impact on the actual call duration, to avoid routing only to the best available agents. This strat
and thus would be inefficiently employed. Likewise, an agent egy has other implications. Because agents are challenged
anticipated to complete the call in 6 minutes might be deemed continually, there is reduced incentive for an agent to limit his
inefficient, depending on the availability of other agents and 65 skills to avoid the “tougher assignments. Further, a self
additional criteria. The call may be selected as a training monitoring scheme may be implemented to determine the
exercise. In this case, an agent is selected for training whom status of an agent's skill with each call. For example, agent
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performance is typically determined on a call-throughput          cation, or be used to call an external database record associ
basis, since call centers are managed on a man-hour require        ated with the identity of the caller or communications chan
ment basis and agents compensated on a per-hour basis.             nel. While it is possible to associate such a database closely
Therefore, based on a presumed agent skill set and an esti         with the low level communications processing system, this is
mation of the skills required for a given call, a call duration    not generally done, since it may impair the deterministic
may be predicted. The actual duration is then compared with        characteristics of the communications processing system.
the predicted duration, providing a performance metric for         Rather, if such information is required by the low level com
the agent.                                                         munications system for resolution, and cannot be stored
   This scheme also allows determination of the pertinent          locally in a data table, it is preferred that it be available
factors for call duration, both based on the information about 10 through a closely coupled, but independent system. As dis
the call or caller and the skill set of the agent. Thus, a variety cussed above, it is preferred that a call entering the queue
of low-level data may be collected about a volume of calls, require no more than a single database query and receipt of
which may be statistically or otherwise analyzed to determine response prior to action, although other non-time critical
significant relations. For example, an artificial neural network access may occur both before and after action. The prior art,
or fuzzy-neural network may be implemented based on the 15 on the other hand, generally provides such information
data, which may then be automatically analyzed based on the through independent and generally high level systems. High
independent criteria, e.g., call duration, cost function, or the level systems are generally characterized by general purpose
like.                                                              interfaces, broad range of functionality, and often a commu
   It is noted that, during peak demand periods, reduced pro nications protocol having a rich and complex grammar. On
ductivity due to training exercises is preferably minimized. the other hand, tightly coupled systems can often forgo exten
Thus, as demand increases, high skill set agents are prefer sibility and interoperability in favor of efficiency.
ably reassigned from training to most-efficient operational           In many instances, call centers are implemented to provide
status, while lower skill set agents are assigned to calls well Support for computer systems. It is known to provide a mes
within their capabilities. Thus, during Such peak demand sage automatically generated by a computer to identify and
periods, the staffing requirement will generally be no worse 25 report the status of the computer at a given time, and possibly
than traditional call centers. On the other hand, since training the nature of a computer problem. One aspect of the present
is integrated with operations, over a period of time, the aver invention allows this message to be associated with a direct
age skill of all agents will increase. Thus, more skilled agents semantic communication session with the user, for example
will be available at peak periods, reducing overall staffing to predefine the nature of the call and possibly the skill set
requirements over a long term due to an expected decrease in 30 required to address the issues presented. Thus, for example, a
average call duration and increase in agent productivity.          caller may be prompted to specify information of particular
   According to this embodiment of the invention, it is less relevance in the routing process, while not being prompted for
critical to perform the call routing resolution in the low level information irrelevant to the selection. For example, if only
system, since the real time criteria is not particularly limited one agent is available, the entire prompting process may be
by processing and communication latencies. On the other 35 bypassed. If two agents are available, their profiles may be
hand, corresponding skill routing functions may be per analyzed, and only the most critical distinctions probed. This
formed by the communications processing system for both entire process may be handled in the low level communica
outbound and inbound communications, thus permitting a tions processing system, without Substantial loss of efficiency
simplification of the external Supporting systems.                 or throughput in that system, and with Substantial gains in
   An embodiment of the present invention provides an Inter 40 overall architectural efficiency.
net Protocol based communications architecture, permitting            Often, a highly skilled agent will serve as mentor for the
geographically dispersed physical communications locations trainee, and “shadow” the call. Thus, the routing of a call may
to act as a single coordinated entity. In order to centrally depend on availability of both trainee and skilled instructor.
manage a queue, the various pieces of information must be This dual-availability checking and pairing may be per
available for processing. As noted above, an interactive opti 45 formed in the low level system.
mization may require a real time comparison of all available          Another aspect of call center efficiency impacted by this
agents. In this architecture, in cases of an ad hoc organization scheme is agent motivation. Because an agent with lower skill
or peak demand periods, freelance agents may be called upon levels will be given assignments considered challenging,
dynamically as required. Thus, if a peak demand period is while more skilled agents given training assignments which
much shorter than an agent shift, off-site freelance agents 50 may be considered desirable, there is an incentive for agents
may be dynamically called upon, for example through the to progress, and likewise no incentive to avoid progressing.
Internet, ISDN, POTS, DSL, Cable modem, or a VPN, to               Thus, an agent will have no incentive to intentionally or
handle calls. In this case, the optimal training of Such off-site subliminally perform poorly to avoid future difficult skill
or freelance agents will generally differ from those who are based assignments. These factors may be accommodated in a
in-house agents. For example, if freelance agents are called 55 cost function calculation, for example with an update of the
upon only during peak demand periods, these agents will be agent vector after each call based on call characteristic vector,
trained specifically for the skills in short Supply during Such call outcome and duration, chronological parameters, and the
periods, or for generic skills which are commonly required.        like.
   In order to gage the skill set required of an agent for a call,    In operation, the system works as follows. Prior to call
a number of methods may be employed. Using a menu or 60 setup, the nature of the call is predicted or its requirements
hierarchal menu, a series of questions may be asked of callers estimated, as well as the prospective issues to be encountered.
in the queue to determine the identity of the caller and the This may be performed in Standard manner, for example in an
nature of the call. Likewise, ANI/DNIS information, IP            inbound call based on the number dialed, based on the ANI/
address or the like, or other communications channel identi   DNIS of the caller (with possible database past history
fier may be employed to identify the calling telephone com 65 lookup), selections made through automated menus, Voice
munications channel. This information may directly indicate messages, or other triage techniques. In the case of outbound
the characteristics or desired characteristics of the communi calls, a database of past history, demographic information
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(both particular to the callee and for the region of the call), and may list the number of calls requiring selected skill expres
nature of the call may all be used to determine the projected sions and the average time spent on those calls. Other known
agent skill set required for the call. Alternately, only param report types are also possible. An important report type is the
eters available locally to the communications control system improvement in call center efficiency over time, i.e.,
are employed, which, for example, may exclude a past history decreased wait time, increased throughput, increased cus
database lookup. Collaborative filtering may be used to assist tomer satisfaction, etc. Thus, each agent should demonstrate
in inferring a profile of a remote user.                            improved skills over time. Peak throughput should meet or
   It is noted that, after initial call setup, the actual skill set exceed reasonable expectations based on a statically skill
required may become apparent, and the call may be rerouted routed call center. Other metrics may also be evaluated. Such
to another agent. For example, this may be performed at a 10 reports are typically not generated from low level communi
high level, thus permitting correction of errors or inappropri cations systems, and are considered an inventive feature.
ate selections made by the low level system.                           It is therefore an object of the invention to provide a com
   Once the predicted skill sets are determined, these are then munications control system comprising an input for receiving
compared against a database of available agents and their a call classification vector, a table of agent characteristic
respective skill sets. A weighting is applied based on per 15 vectors, and a processor, for (a) determining, with respect to
ceived importance of selection criteria, and the requirements the received call classification, an optimum agent selection
correlated with the available agent skill sets.                     based on at least a correspondence of said call classification
   When the call center is operating below peak capacity, vector and said table of agent characteristic vectors, and (b)
marginally acceptable agents may be selected to receive the controlling a call routing of the information representing said
call, possibly with a highly acceptable agent available if nec received call in dependence thereon. It is a further object of
essary for transfer or handoff or to monitor the call. When the the invention to provide a system wherein the process main
call center is operating near peak capacity, the agents are tains a table of skill weights with respect to the call classifi
assigned to minimize the anticipated man-hour burden cation, and applies said weights to determine an optimum
(throughput) and/or wait time. Thus, peak throughput opera agent selection.
tion generally requires that agents operate within their proven 25 Another object of the invention is to provide a communi
skill sets, and that training be minimized.                         cations control system for handling real time communica
   Each call is associated with a skill expression that identifies tions, wherein an integral system resolves a communications
the skills that are relevant to efficient handling of the call. As target based on an optimizing algorithm and establishes a
previously noted, the preferred embodiment is one in which communications channel with the resolved communications
more than one relevant skill is identified, so that all of the 30 target.
factors that determine a “best agent for handling a call can be       A further object of the invention provides a communica
considered. This is expressed, for example, as a call charac tions method comprising receiving a call, classifying the call
teristic vector. The relevant skills required may be determined to determine characteristics thereof, receiving a table repre
using different techniques.                                        senting characteristics of potential targets, determining an
   The skill expression of a call includes the required skills 35 optimum target based on the characteristics of both the call
and skill levels for efficiently handling the call. In one and the potential targets, and routing the received call to the
embodiment, the skills may be divided into two categories:         optimum target, the determining step and the routing step
mandatory and optional skills. Mandatory skills are those being performed by a common platform.
skills that an agent must possess in order to handle the call,        A still further object of the invention provides a commu
even if the call remains in queue for an extended period of 40 nications control software system, comprising a multi
time. For example, language proficiency is often a mandatory threaded operating system, providing Support for applica
skill for handling a call. Optional skills are those that are tions and for passing messages between concurrently
considered in the selection of the appropriate agent, but not executing applications, a communications control server
critical. In operation, these mandatory skills are expressed as application executing under said multithreaded operating
a high relevance rating with respect to a call characteristic 45 system, for controlling real time communications, and at least
having a non-linear (e.g., binary or sigmoid) characteristic. one dynamically linkable application, executing under said
Therefore, in the absence of exceptional circumstances, other multithreaded operating system, communicating with said
factors for qualified agents will determine resolution. Alter communications control server application to receive call
nately, the mandatory skills may be specified as a pre-filter, characteristic data and transmit a resolved communications
with optional skills and cost function expressed through lin 50 target.
ear-type equations.                                                   Another object of the invention provides a method of deter
   It is noted that the peak/non-peak considerations may be mining an optimum communications target in real time, com
applied on a call-by-call basis. Thus, certain callers may be prising receiving a communication having an indeterminate
privileged to have a shorter anticipated wait and greater effi target, selecting an optimum target, and establishing a chan
ciency service than others. Thus, these callers may be treated 55 nel for the communication with the optimum target, wherein
preferentially, without altering the essential aspects of the said selecting and establishing steps are performed on a con
invention.                                                         solidated platform.
   The present invention may also generate a set of reports           It is a further object of the invention to provide a commu
directed to management of the call center. Typically, the com nications processing system for directly establishing and con
munications server generates a call log, or a statistically pro 60 trolling communications channels, receiving information
cessed log, for analysis by a higher level system, and does not regarding characteristics of a preferred target of a communi
generate complete, formatted reports itself. The quality of cation, comparing the characteristics with a plurality of avail
service reports are generated to indicate the effectiveness of able targets using an optimizing algorithm, and establishing
the call-management method and system. An agent Summary the communication with the target in dependence thereon.
report is organized according to the activities of particular 65 It is another object of the invention to provide a method of
individuals, i.e. agents. A skill Summary report organizes the selecting a call handling agent to handle a call, comprising the
data by skill expressions, rather than by agents. This report steps of identifying at least one characteristic of a call to be
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handled; determining a call centerload, and routing the call to        Preferably, the profile includes a number of vectors repre
an agent in dependence on the characteristic, call center load,     senting different attributes, which are preferably indepen
and agent characteristics.                                          dent, but need not be. The profile relates to both the level of
   A further object of the invention provides a method opti ability, i.e. expertise, in each skill vector, as well as the per
mizing an association of a communication with an agent in a formance of the agent, which may be a distinct criterion, with
communications center, comprising the steps of determining respect to that skill. In other words, an agent may be quite
a characteristic of a communication; accessing a skill profile knowledgeable with respect to a product line, but neverthe
of a set of agents; cost-optimizing the matching of the com less relatively slow to service callers. The profile, or an
                                                                    adjunct database file, may also include a level of preference
munication with an agent based on the respective skill profile, 10 that
and routing the call to a selected agent based on said cost that call         management has for the agent to handle transactions
                                                                          require  particular skills versus transactions that require
optimization with a common system with said optimizing.             other  skills, or other extrinsic considerations.
   An object of the invention also includes providing a                This table or set of tables is communicated to the commu
method for matching a communication with a communica
tion handler, comprising the steps of predicting a set of issues 15 nications   server. Typically, the communications server does
                                                                    not create or modify the agent skills table, with the possible
to be handled during the communication; accessing a profile exception of updating parameters based on immediate per
record for each of a plurality of communications handlers; formance. For example, parameters such as immediate past
analyzing the profile records with respect to the anticipated average call duration, spoken cadence, and other statistical
issues of the communication to determine a minimal capabil parameters of a call-in-progress or immediately past con
ity; selecting an optimum communication handler; and con cluded will be available to the communications server. These
trolling the communication, all controlled within a common parameters, which may vary over the course of a single shift,
process.                                                            may be used to adaptively tune the profile of the agent in real
   The foregoing has outlined some of the more pertinent time. Typically, however, long term agent performance is
objects of the present invention. These objects should be managed at higher levels.
construed to be merely illustrative of some of the more promi 25 FIG. 1 shows a flow chard of an incoming call routing
nent features and applications of the invention. Many other algorithm according to a preferred embodiment of the present
beneficial results can be attained by applying the disclosed invention. A call is placed by a caller to a call center 301. The
invention in a different manner or modifying the invention as call is directed, through the public switched telephone net
will be described. Accordingly, other objects and a fuller work, although, calls or communications may also be
understanding of the invention may be had by referring to the 30 received through other channels. Such as the Internet, private
following Detailed Description of the preferred embodiment. branch exchange, intranet VoIP, etc. The source address of the
                                                                    call, for example the calling telephone number, IP address, or
       BRIEF DESCRIPTION OF THE DRAWINGS                            other identifier, is received to identify the caller 302. While
                                                                    the call is in the waiting queue, this identifier is then used to
   For a more complete understanding of the present inven 35 call up an associated database record 303, providing, for
tion and the advantages thereof, reference should be made to example, a prior history of interaction, a user record, or the
the following Detailed Description taken in connection with like. The call waiting queue may be managed directly by the
the accompanying drawings in which:                                 telephony server. In this case, since the caller is waiting,
   FIGS. 1 and 2 are flow charts showing a skill routing variable latencies due to communications with a separate call
method according to the present invention.                       40 management system would generally not interfere with call
                                                                    processing, and therefore may be tolerated. In other instances,
    DETAILED DESCRIPTION OF THE PREFERRED                           an interactive voice response (IVR) system may be employed
                       EMBODIMENTS                                  to gather information from the caller during the wait period.
                                                                     In some instances, there will be no associated record, or in
   The Detailed description of the invention is intended to 45 others, the identification may be ambiguous or incorrect. For
describe relatively complete embodiments of the invention, example, a call from a PBX wherein an unambiguous caller
through disclosure of details and reference to the drawings. extension is not provided outside the network, a call from a
The following detailed description sets forth numerous spe pay phone, or the like. Therefore, the identity of the caller is
cific details to provide a thorough understanding of the inven then confirmed using voice or promoted DTMF codes, which
tion. However, those of ordinary skill in the art will appreciate 50 may include an account number, transaction identifier, or the
that the invention may be practiced without these specific like, based on the single or ambiguous records.
details. In other instances, well-known methods, procedures,           During the identity confirmation process, the caller is also
protocols, components, and circuits have not been completely directed to provide certain details relating to the purpose of
described in detail so as not to obscure the invention. How          the call. For example, the maybe directed to “press one for
ever, many such elements are described in the cited references 55 sales, two for service, three for technical support, four for
which are incorporated herein by reference, or as are known returns, and five for other'. Each selected choice, for
in the art.                                                          example, could include a further menu, oran interactive Voice
   For each agent, a profile is created based on manual inputs, response, or an option to record information.
Such as language proficiency, formal education and training,           The call-related information is then coded as a call char
position, and the like, as well as automatically, based on 60 acteristic vector 304. This call characteristic is either gener
actual performance metrics and analysis, and used to create a ated within, or transmitted to, the communications server
skills inventory table. This process is generally performed in system.
a high level system, such as a customer relations management           Each agent has a skill profile vector. This vector is devel
system or human resources management system. A profile oped based on various efficiency or productivity criteria. For
thus represents a synopsis of the skills and characteristics that 65 example, in a sales position, productivity may be defined as
an agent possesses, although it may not exist in a human sales Volume or gross profits per call or per call minute,
readable or human comprehensible form.                               customer loyalty of past customers, or other appropriate met
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rics. In a service call, efficiency may be defined in terms of          It is clearly apparent that the communications server sys
minutes per call, customer loyalty after the call, customer tem will have direct access to call center load data, both in
satisfaction during the call. Successful resolution of the prob terms of availability of agents and queue parameters.
lem, or other metrics. These metrics may be absolute values,            Thus, in a training scheme, an optimization is performed,
or normalized for the agent population, or both. The skill 5 using as at least one factor the value of training an agent with
profile vector is stored in a table, and the profiles, which may respect to that call 312, and an appropriate trainee agent
be updated dynamically, of available or soon to be available Selected 313.
agents, are accessed from the table (database) 305.                     In order to provide proper training, the trainer and trainee
   Typically, the table 305 is provided or updated by a high 10 must both be available, and the call routed to both 314. Gen
level call center management system to the communications the        erally, the trainee has primary responsibility for the call, and
                                                                          trainer has no direct communication with the caller.
server system as the staffing assignments change, for example
                                                                     Therefore,
once or more per shift. Intra-shift management, such as or leave before           the trainer may join the call after commencement,
scheduling breaks, may be performed at a low or high level.                              closing. However, routing a call which
                                                                     requires two agents to be simultaneously available poses
   The optimization entails analysis of various information, 15 Some difficulties. In general, the trainer is an agent capable of
which may include the caller characteristics, the call incident handling the entire call alone, while the trainee may not be.
characterization, availability of agents, the agent profile(s), Therefore, the trainer is a more important participant, and the
and/or various routing principles. According to the present initial principle in routing the training call is to ensure that a
invention, the necessary information is made directly avail trainer is available. The trainer may then await availability of
able to the communications server, which performs an opti an appropriate trainee, or if none is imminently available,
mization to determine a "best target, e.g., agent selection, for handle the call himself or herself.
the caller.                                                             On the other hand, where a specific training campaign is in
   For example, if peak instantaneous efficiency is desired, place, and a high utility associated with agent training, then
for example when the call center is near capacity 306, more the availability of a specific trainee or class of trainees for a
advanced optimizations may be bypassed and a traditional 25 call having defined characteristics is particularly important.
skill based call routing algorithm 307 implemented, which In that case, when an appropriate trainee is available, the call
optimizes a short term cost-utility function of the call center held in that agents cue, and the call possibly commenced,
308. An agent who can “optimally' handle the call is then awaiting a training agent's availability.
selected 309, and the call routed to that agent 310. The global         If the training is highly structured, it is also possible to
(e.g., call center) factors may be accounted as a separate set of 30 assign the trainer and trainee agents in pairs, so that the two
parameters.                                                          are always available for calls together.
   Thus, in order to immediately optimize the call routing, the         The system according top the present invention may also
general principle is to route the call Such that the Sum of the provide reinforcement for various training. Thus, if a Subset
utility functions of the calls be maximized while the cost of of agents receive classroom training on a topic, the server may
handling those calls be minimized. Other types of optimiza 35 target those agents with calls relating to that topic. For
tions may, of course, be applied.                                    example, the topic may represent a parameter of a call char
   According to one optional aspect of the invention, the acterization vector. In order to target certain agents for calls
various routing principles discussed above explicitly value having particular characteristics, a negative cost may be
training as a utility of handling a call 311, and thus a long applied, thus increasing the probability that the agent will be
term optimization is implemented 312. The utility of caller 40 selected, as compared with an agent having a positive cost. By
satisfaction is also weighted, and thus the agent selected is using a single cost function, rather than specific override, the
generally minimally capable of handling the call. Thus, while system becomes resilient, since this allocation is not treated
the caller may be somewhat burdened by assignment to a as an exception, and therefore other parameters may be simul
trainee agent, the call center utility is maximized over the long taneously evaluated. For example, if a caller must communi
term, and call center agents will generally increase in skill 45 cate in a foreign language, and the agent does not speak that
rapidly.                                                             foreign language, then the system would not target the call to
   In order for the communications server system to be able to that agent, even if other factors weigh in favor of Such target
include these advanced factors, they must be expressed in a ing.
normalized format, such as a cost factor.                               The same techniques are available for outbound campaigns
   As for the cost side of the optimization, the cost of running 50 and/or mixed call centers. In this case, the cost of training is
a call center generally is dependent on required shift staffing, more pronounced, since agents idle for inbound tasks are
since other costs are generally constant. Accordingly, a pre generally assigned to outbound tasks, and thus the allocation
ferred type of training algorithm serves to minimize Sub of trainer agents and trainee agents generally results in both
locally optimal call routing during peak load periods, and thus longer call duration and double the number of agents assigned
would be expected to have no worse cost performance than 55 per call. This cost may again be balanced by avoiding training
traditional call centers. However, as the call center load is        during peak utility outbound calling hours and peak inbound
reduced, the call routing algorithm routes calls to trainee calling hours; however, training opportunities should not be
agents with respect to the call characteristics. This poses two avoided absolutely.
costs. First, since the trainee is less skilled than a fully trained    According to one embodiment of the invention, at the
agent, the utility of the call will be reduced. Second, call 60 conclusion of a call, the caller is prompted through an IVR to
center agent training generally requires a trainer be available immediately assess the interaction, allowing a subjective
to monitor and coach the trainee. While the trainer may be an scoring of the interaction by the caller without delay. This
active call center agent, and therefore part of the fixed over information can then be used to update the stored profile
head, there will be a marginal cost since the trainer agent parameters for both caller and agent, as well as to provide
might be assuming other responsibilities instead of training. 65 feedback to the agent and/or trainer. Under some circum
For example, agents not consumed with inbound call han stances, this may also allow immediate rectification of an
dling may engage in outbound call campaigns.                         unsatisfactory result.
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                             55                                                                              56
                          Example 1                                                In this case, Ac1 represents an agent-skill weighting cost
                                                                                function, while Ac2 represents an agent cost function. Since
   Each agent is classified with respect to 10 skills, and each                 we select the maximum value, more expensive agents have
skill can have a weight of 0 to 127. The skill weights may be                   correspondingly lower cost values.
entered manually by a Supervisor, developed adaptively, or 5
provided by other means. These are sent as a parameter file to                                                      TABLE 2
the communications server.
   A rule vector specifies a normalized contribution of each                                                        Agent         Agent        Agent        Agent Agent
skill to apply to the total. This rule vector, for example,                       Rule Vector                            1          2            3            4          5
represents the call characteristic vector. Thus, attributes of the 10
call and the status of the system are analyzed to generate this                                          Ac1         0.4           0.55         O45          0.7      O6
rule vector. There can be more than one rule vector defined in                                           Ac2         6             3            6.8          2        5.5
a project (split), or a rule can be setup in a per call basis.                   20% Skill           1              2O             5            3            5        4
Generally, routing with predefined rules is much more effi                        5% Skill           2               3             3            3            3        3
cient than routing with rules in a per call bases. When a call 15                10% Skill           3              10             6            9           10       10
needs to be routed to an agent, the rule vector is applied to the                15% Ski             4              43            50           33           46       25
skills of the available agents and a score is derived for each                    3% Skill           5                                          9                     8
agent. The agent with the highest score is assigned the call.                     7% Skill           6               5                          5            8        9
                                                                                 20% Skill           7                                          4                     2
                           TABLE 1.                                               8% Skill           8              64            8O           29           45       77
   Rule                 Agent     Agent   Agent Agent         Agent               5% Skill           9               4             5            4            1        2
  Wector                   1          2     3        4              5             7% Skill          10               9             3            8            3        6
                                                                                100% Prelim                         1851          17.33        11.1         13.93    13.65
   20%     Skill         2O
    59%    Skill          3                                                          Score
   10%     Skill         10                                                25        Final                          1340          12.53        11.80        11.7S    13.69
   15%     Skill         43       5                                                  Score
    3%     Skill          7
    79%    Skill          5
   20%     Skill          2
    8%     Skill         64       8                                               As can be seen in Table 2, Agent 5 is now optimum.
    59%    Skill          4
    79%    Skill   1      9                          3         6           30
  100%     Score         1851     17.33    11.1     13.93     13.65                                              Example 3

   As shown in Table 1, Agent 1 would be selected, since this         In this example, a limiting criterion is imposed, that is, only
is the highest score.                                            35 agents with a skill score within a bound are eligible for selec
   In this example, it is presumed that all selections have the tion. While this may be implemented in a number of ways,
same cost, and therefore the utility only varies. Thus, the possibly the simplest is to define the range, which will typi
agent with the highest utility function is the optimal selection. cally be a lower skill limit only, below which an agent is
                           Example 2                                excluded from selection, as a preliminary test for “availabil
                                                                                 --
                                                                 40

  The conditions below are the same as in Example 1, except                       As noted below, the screening criteria may be lower, upper
two new factors are provided. Ac1 and Ac2. The Preliminary                      or range limits. In this case, the screening process excludes
Score is calculated as the sum of the products of the Rule                      agents 2, 3, and 5, leaving agents 1 and 4 available. Of these
Vector and the Agent Vector. The Final Score is calculated as                   two choices, agent 1 has the higher score and would be tar
(Ac1XSum)+Ac2.                                                                  geted, as shown in Table 3.
                                                                                                    TABLE 3
                                                   Rule Vector

                                                            Min         Max     Exclude                        Agent         Agent        Agent        Agent        Agent
                                                            Skill       Skill    Agent                           1            2             3           4            5

                                                                                                     Ac1        0.4           0.55         O.45         0.7          O.6
                                                                                                     Ac2        6             3            6.8          2            5.5
                                                  20%                   25%               Skill        1       2O             5            3            5            4
                                                   59%                                    Skill        2        3             3            3            3            3
                                                  10%                                     Skill        3       10             6            9           10           10
                                                  15%       40%         100%      3, 5    Skill          4     43            50           33           46           25
                                                   3%                                     Skill          5      7             2            9            2            8
                                                   79%                                    Skill          6      5             8            5            8            9
                                                  20%                                     Skill          7      2             3            4            2            2
                                                   8%       30%         75%      2, 3, 5 Skill           8     64            8O           29           45           77
                                                   59%                                    Skill           9     4             5            4            1            2
                                                   79%                                    Skill          10     9             3            8            3            6
                                                                                 2, 3, 5 excluded
                                                                                   1, 4 available
                                                  100%                                    Prelim               18.51         17.33        11.1         13.93        13.65
                                                                                          Score
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                                             TABLE 3-continued
  Rule Vector

            Min       Max         Exclude                              Agent      Agent        Agent        Agent       Agent
            Skill     Skill       Agent                                             2             3                      5
                                            Final                       1340      12.53         11.8O       11.7S       13.69
                                            Score


                                                                                                  10
                                    Example 4
   In this example, the optimization seeks to optimize the
placement of 5 incoming calls to 5 agents. As shown, each
caller is represented by a different call vector, and each agent 15
by a distinct skill vector. The optimization therefore seeks the
maximum utility from the respective possible pairings.
   Using a combinatorial analysis as shown in Table 5, the
maximum value as shown in is 62.42, which represents the
selection of agent 1/caller 1, agent 2/caller 5; agent 3/caller 4,
agent 4, caller 2; and agent 5, caller 3, as shown in Table 4.
                                                                  TABLE 4
             Rule        Rule        Rule       Rule             Rule
            Vector       Vector     Vector      Vector           Vector                 Agent          Agent    Agent        Agent       Agent
 SKILL         1           2           3             4             5                       1            2           3            4           5

    1        20%.       25%.         17%.        20%.         14%                       2O              5         3           5           4
    2         5%.       10%           59          59%          3%                        3              3         3           3           3
    3        10%        15%.         20%.        10%           8%                       10              6         9          10          10
    4        15%.       10%           59          59%          59                       43             50        33          46          25
    5         3%         O%           59          8%           196                       7              2         9           2           8
    6         7%.       10%.         13%.        10%           79%                       5              8         5           8           9
    7        20%.       10%           5%.        10%          20%                        2              3         4           2           2
    8         8%         4%           8%          4%           8%                       64             8O        29          45          77
    9         59%        8%.         13%.        18%.         23%                        4              5         4           1           2
   10         79%        8%           9%,        10%.         11%                        9              3         8           3           6
            100%       100%         100%        100%         100%          Rule 1       1851           17.33     11.1        13.93       13.65
                                                                           Rule 2       15.4           12.39      8.72       10.77       10.12
                                                                           Rule 3       15.25          13.31      8.97       10.54       12.71
                                                                           Rule 4       12.74.          9.91      7.6         7.89        8.98
                                                                           Rule 5       13.69          12.83      8.24        9.03       11.09



                                                                                        TABLE 5
                                                                       Combinatorial analysis of agents vs. callers
58.85 S9.52        S8.77 S9.58      60.68    S8.79       58.04    S8.8S   60.28    S7.72       S8.12    S8.93   60.42    S7.86       59.01       60.15   59.26   S6.7O   59.96   S8.18
57.88 58.55        58.88 60.66      59.71    57.82       58.15    59.93   59.31    56.75       55.41    57.19   60.53    57.97       56.30       57.33   60.34   57.78   57.25   55.36
60.13 61.28        S9.2S 60.06      61.96    61.33       S9.3     60.11   62.04    60.26       S8.9     59.71   60.90    59.12       S9.79       60.93   59.74   S7.96   S8.63   S8.96
60.24 49.54        56.54 58.32      62.07    58.99       S6.96    S8.74   59.33    S7.92       S6.56    S8.34   58.19    S6.78       57.45       58.48   S8.OO   S6.59   S7.26   S6. S1
58.66 59.81        60.14 62.42      60.49    S9.86       60.19    62.47   60.57    58.79       57.45    59.73   61.79    60.01       S8.34       58.59   62.10   60.32   S8.6S   56.62
59.74 58.07        57.32 S9.6       61.57    S849        S7.74    60.02   58.83    ST.42       S7.82    60.1    S8.97    S7.56       S8.71       58.96   S9.28   S7.87   S9.02   S6.99



                                                                       TABLE 6
                                                             Combinatorial Analysis
293.SS27     255.3573         256.8383      289.63.07       267.1886        254.878S       256.3595         289.1519      255.0903       246.9756
236.6543     232.4589         235.0236      290.7144        244.2902        231.98O1       234.5448         290.2356      232.1919       224.0773
260.9804.    259.9429         259.9962      292.7886        268.6163        260.932        260.9853         293.7777      259.6759       253.0292
239.1658     163.4004         231.9914      287.6822        246.8O16        234.7961       234.8494         29O.S4O2      231.6711       226.8933
224.1784     223.1409         225.70S6      295.3OO1        231.8143        224.1300       226.6947         296.2892      222.8739       216.2272
225.2621     218.0345         219.51SS      289.1099        232.898O        220.892S       222.373S         291.9679      217.767S       212.98.96

247.4191     280.2116         264.86S1      256.7SO4.       255.7129        291.0701       3.09.1051        300.9904      3674349        302.5176
219.4143     2.75.1051        243.OSO4      234.9358        227.7081        284.8799       310.1888         302.0741.     339.4301.      296.3275
248.887.     281.679S         268.023       261.3763        257.1808.       292.538        312.263          305.6163      301.42O8       303.98SS
222.751.1    278.4419         240.0182      235.2403        231.0449        288.2167       307.1566         302.3787      298.1833       299.6643
211.5642     281.1587         233.7324      227.0857        219.858O        289. SOSf      314.7744         308.1277      300.90OO       300.9533
213.4331,    283.0276         227. S423     222.7644        221.7269        291.3746       3O8.5843         3O3.8064.     302.7689       302.8222
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                                 59                                                                              60
                              Example 5                                              What is claimed is:
                                                                                     1. A communication method, comprising:
   Similarly to Example 4, it is also possible to include an                         for each of a plurality of users, maintaining a profile com
agent cost analysis, to provide an optimum cost-utility func                            prising a plurality of characteristics of a respective user
tion. As in Example 2, the cost factors are reciprocal, since we                        in a memory system;
select the largest value as the optimum. Likewise, time factors                      for each of a first Subset of the users, comprising a plurality
are also reciprocal, since we seek to minimize the time spent                           of users, receiving a request for respective communica
per call. In this case, the cost analysis employs three addi                            tion opportunities;
tional parameters: the agent cost, a value representing the cost                     for each of a second Subset of the users, comprising a
of the agent per unit time; a value representing an anticipated 10                      plurality of users, determining an availability of each
duration of the call based on the characteristics of the caller,                        respective user for a communication;
and a value representing the anticipated duration of the call                        defining an optimization criterion for matching members
based on characteristics of the agent                                                   of the first subset with members of the second subset, for
                                                                      TABLE 7
             Rule       Rule       Rule       Rule       Rule
  SKILL    Vector 1   Vector 2   Vector 3   Vector 4   Vector 5                  Agent          Agent         Agent        Agent        Agent
  Caller      3         3.5       2.75         4          10                     1              2            3            4            5
   time
  factor
                                                                  Agent          O.S9           O.68         1            O.86         0.79
                                                                  Cost
                                                                  Agent          1.3            1.3          1            1.1          1.2
                                                                  time
                                                                  factor
     1       20%       25%        1796       20%        14%                      2O            5             3            5            4
     2        59%      10%         59%        59%        3%                       3            3             3            3            3
     3       10%       15%        20%        10%         8%                      10            6             9           10           10
     4       15%       10%         59%        59%        59%                     43           50            33           46           25
     5        3%        O%         59%        8%         190                      7            2             9            2            8
     6        79%      10%        13%        10%         79%                      5            8             5            8            9
     7       20%       10%         59%       10%        20%                       2            3             4            2            2
     8        8%        4%         8%         4%         8%                      64           8O            29           45           77
     9        59%       8%        13%        18%        23%                       4            5             4            1            2
    10        79%       8%         9%        10%        11%                       9            3             8            3            6
            100%      100%       100%       100%       100%       Rule 1         72.189       58.80069      19.647       31.71861     36.855
                                                                  Rule 2         70.07        49.045815     18.0068      28.61OSOS    31.878
                                                                  Rule 3         S4S187S      41.397.427S   14.SS382S    21.99961S    31.4572S
                                                                  Rule 4         66.248       4.483284      17.936       23.954.04    32.328
                                                                  Rule 5        177.97       145.1073       48.616       68.5377      99.81



   As can be seen in the combinatorial analysis of Table 6, the 40                      a plurality of mutually exclusive communications, each
maximum value is 314.78, which corresponds to a selection                               between a respective member of the first subset and a
of:                                                                                     respective member of the second subset, the defined
Agent 1/CallS: Agent 2/Call 1: Agent3/Call 4: Agent 4/Call 2:                           optimization criterion having a value dependent on at
and Agent 5/Call 3, as shown in Table 7.                                                least an analysis of the plurality of characteristics of
   Therefore, it is seen that the optimum agent/caller selection                        each maintained profile for respective members of the
is sensitive to these cost factors.                                        45           first subset and respective members of the second subset,
   It is also seen that, while the analysis can become quite               and a valuation of the communications;
complex, the formulae may be limited to evaluation of simple            combinatorially determining, using at least one automated
arithmetic functions, principally addition and multiplication,             processor, a predicted net benefit to the plurality of
with few divisions required. Thus, these calculations may be               users, with respect to the optimization criterion, of a
executed efficiently in a general purpose computing environ- 50            proposed set of respective mutually exclusive commu
ment.                                                                      nications which at least partially satisfy the request for
   From the above description and drawings, it will be under-              respective communication opportunities of the first Sub
stood by those of ordinary skill in the art that the particular            set, based on at least the plurality of characteristics of
embodiments shown and described are for purposes of illus-                 each maintained profile for respective members of the
tration only and are not intended to limit the scope of the 55             first subset and respective members of the second subset,
invention. Those of ordinary skill in the art will recognize that          and the valuation of the communications, and defining a
the invention may be embodied in other specific forms with-                set of respective mutually exclusive communications
out departing from its spirit or essential characteristics. Ref-           which represents the highest net benefit to the plurality
erences to details of particular embodiments are not intended              of users as an optimum set of respective communica
to limit the scope of the claims.                                 60       tions; and
   It should be appreciated by those skilled in the art that the        storing in a memory a description of the optimum set of
specific embodiments disclosed above may be readily uti-                   respective communications.
lized as a basis for modifying or designing other structures for        2. The method according to claim 1, wherein the plurality
carrying out the same purposes of the present invention. It ofusers consists essentially of the union of the first subset and
should also be realized by those skilled in the art that such 65 the second subset.
equivalent constructions do not depart from the spirit and              3. The method according to claim 1, wherein the combina
Scope of the invention as set forth in the appended claims.          torially determining comprises performing a combinatorial
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                             61                                                                   62
optimization to determine an optimum set of respective mutu              12. The method according to claim 1, wherein the mutually
ally exclusive communications from all unblocked matches              exclusive communications comprise telephone communica
of available members of the first subset with available respec        tions.
tive members of the second subset.                                       13. The method according to claim 1, wherein the second
   4. The method according to claim 1, wherein the optimi teristics   Subset of users comprise call center agents, and the charac
Zation criteria comprises an economic cost function applied                     of the second Subset comprise skills.
                                                                         14. The method according to claim 1, further comprising
to each pairing of a respective member of the first subset with establishing communications channels through a communi
a respective member of the second Subset in a respective cation network according to the description of the optimum
mutually exclusive communication, based on at least an eco 10 set of respective communications.
nomic value of a benefit of the respective mutually exclusive            15. A method for communicating, comprising:
communication to at least one user and an economic oppor                 maintaining a plurality of user profiles, each comprising a
tunity cost of the respective communication to at least one                 plurality of user characteristics;
USC.                                                                     performing an optimization using an automated processor,
   5. The method according to claim 1, wherein the combina 15               to predict an optimum set of concurrent communications
torially determining ranks a plurality of sets of proposed                  between respective pairs of users based on the plurality
                                                                            of user characteristics for each user in the set of concur
respective mutually exclusive communications.                               rent communications, wherein each concurrent commu
   6. The method according to claim 1, wherein a respective                 nication consumes at least a portion of a limited com
mutually exclusive communication is associated with a                       munications capacity of a respective user involved in the
respective benefit to at least one member of the first subset and           concurrent communication, the optimization compris
a respective benefit to at least one member of the second                   ing selecting the optimum set of concurrent communi
Subset, and the net benefit comprises a Sum of the respective               cations by determining a set of concurrent communica
benefits to the at least one member of the first subset and                 tions having a highest aggregate value of the concurrent
second subset for all of the set of respective mutually exclu               communications, a value of a respective concurrent
sive communications.                                               25       communication being based on at least:
   7. A method for defining mutually exclusive communica                 (a) an analysis of the plurality of characteristics of the
tion channels between users, comprising:                                    respective users for each respective concurrent commu
   maintaining a plurality of user profiles for a plurality of              nication, and
      users, each user profile comprising a plurality of user            (b)  a predicted net economic gain resulting from the
      characteristics;                                             30       respective concurrent communication with respect to at
   receiving a plurality of request for mutually exclusive com              least a benefit to the respective users for each respective
      munication channels among respective users from the                   concurrent communication, an opportunity cost, and a
      plurality of users;                                                   cost of the communication; and
   performing a combinatorial optimization with an auto                  storing in a memory a description of the optimum set of
                                                                            concurrent communications.
      mated processor, to predict a net benefit of the mutually 35
      exclusive communication channels between respective                16. The method according to claim 15, wherein the pre
      users of the plurality of users, with respect to an optimi dicted net economic gain a function of at least an economic
      Zation criteria representing a net value of each respective utility
                                                                      cost of
                                                                              of the respective concurrent match and an economic
                                                                               the respective match.
      mutually exclusive communication channel for a plural
      ity of mutually exclusive communication channels, 40 tive17.concurrent The method according to claim 15, wherein a respec
                                                                                        communication completely exhausts an avail
      based on at least the plurality of user profiles; and
   storing in a memory a description of an optimum set of able concurrent communication capacity for at least one
      mutually exclusive communication channels.                      respective user involved in the respective concurrent commu
   8. The method according to claim 7, wherein the mutually nication.
exclusive communication channels provide respective com 45 18. The method according to claim 15, wherein a respec
munication paths between a first subset of the plurality of tive concurrent communication partially exhausts an avail
users and a second Subset of the plurality of users, and the net able       concurrent communication capacity for at least one
                                                                      respective user involved in the respective concurrent commu
benefit is determined based on at least a net benefit to the first
subset of users.                                                      nication, Such that a respective user involved in the respective
                                                                      concurrent communication is available for concurrent com
   9. The method according to claim 8, wherein net benefit is 50 munication         with a plurality of other respective users.
further determined based on at least a net benefit to the second
subset of users.                                                         19. The method according to claim 15, wherein each
   10. The method according to claim 7, wherein the net respective                 concurrent communication is mutually exclusive
benefit comprises at least a cost incurred as a result of a with            respect to the respective users involved in the concurrent
reduction in availability of a respective user for different 55 communication,           and the aggregate value of each concurrent
                                                                      communication accounts for at least one cost associated with
respective mutually exclusive communications.
   11. The method according to claim 1, wherein a respective the concurrent communication.
valuation for each respective mutually exclusive communi are20.segregated    The method according to claim 15, wherein the users
cation is a function of at least an economic utility of the communicationsinto               a plurality of types, and the concurrent
respective mutually exclusive communication and an eco 60 type with a user ofseek           a
                                                                                                to link a user of a first predetermined
                                                                                              second  predetermined type.
nomic cost of the respective mutually exclusive communica
tion.                                                                                         k   k   k   k   k
